Case 2:20-cv-04457-MEF-JRA       Document 112   Filed 06/25/24   Page 1 of 55 PageID:
                                       3094


                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY




  Zequi Wu, et al.,
                                                 Civil Action No. 20-4457
                                                        (MEF) (JRA)
             Plaintiffs,

       v.                                             OPINION and ORDER

  GSX Techedu Inc., et al.,


             Defendants.



                                 Table of Contents
 I.    Background
       A.   Allegations
       B.   The Lawsuit
       C.   Procedural History
       D.   The Motion
       E.   The Court’s Approach
 II.   Legal Standards
       A.   Pleading Standards
       B.   Substantive Standards
            1.      Section 10(b)
            2.      Section 20(a)
 III. Misrepresentations
       A.   Student Enrollment
            1.      Witnesses
                    a)    CW-3
                          i. Detail
Case 2:20-cv-04457-MEF-JRA      Document 112   Filed 06/25/24   Page 2 of 55 PageID:
                                      3095


                         ii. Sources
                         iii. Corroboration
                         iv. Conclusion and Other Allegations
                    b)   CW-2
                    c)   CW-1
                    d)   CW-5
                    e)   CW-6
                    f)   Conclusion
            2.      Additional Information
            3.      Conclusion
       B.   Revenue
       C.   Spring 2020 Statements
 IV.   Scienter
       A.   General Legal Standards
       B.   Pleading Scienter: Three Questions
       C.   Analysis of the Three Questions
            1.      Red Flags
                    a)   In General
                    b)   In This Case
            2.      Position in the Company
            3.      Importance to the Company
       D.   Conclusion
 V.    Loss Causation
       A.   In General
       B.   In This Case
 VI.   Conclusion


                                   *    *      *
 Investors bought stock in an online education company, and its
 stock price fell.
 The investors then sued the company and some of its senior
 executives. They allege that certain public statements about
 the company were inaccurate, mainly because the company was
 falsely inflating both student enrollment and revenue numbers --

                                        2
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 3 of 55 PageID:
                                   3096


 - and that when the truth about these false statements was
 eventually revealed, it caused the stock price to fall.
 The company and its executives now move to dismiss.
 The motion is denied in large part and granted to a limited
 extent.
                                *    *      *

 I.     Background

        A.   Allegations

 The relevant allegations for now are as follows.
 GSX Techedu Inc. (“the Company”) is an internet-based
 educational platform; it sells online classes to students.              See
 Second Amended Complaint (“Complaint”) ¶ 2.
 The Company, it is alleged, made it look like it had many more
 students than it really did.
 How?
 Mainly by paying for large numbers of “bots” to pose as bona-
 fide students, and to attend Company classes. See id. at ¶¶ 3,
 5. (A “bot” is a software application that runs automated tasks.
 See id.) The bots’ attendance was publicly reported by the
 Company, as if the bots were real students attending Company
 classes. See id.
 What was the point of doing this?
 The Company, it is alleged, secretly used its own money to pay
 the phony students’ enrollment fees --- and then publicly
 reported those fees as revenue. See id. at ¶¶ 5, 32, 72.
 This inflated revenue stream made the Company more enticing to
 potential investors. See id. at ¶¶ 5, 8.
 After all, the Company seemed to be attracting more students
 (but these were really bots) who were paying enrollment fees
 (but this was really Company money). See id. at ¶¶ 32, 72, 130,
 136-39.
 As part of this alleged scheme, the Company made a range of
 false public statements. Revenue, for example, was overstated,
 and so were student enrollment numbers. See id. at ¶¶ 195-280.




                                     3
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 4 of 55 PageID:
                                   3097


      B.    The Lawsuit

 Pressing the allegations set out above, some investors sued.
 The investors (from here, “the Plaintiffs” 1) sued on behalf of a
 putative class of people who owned shares in the Company during
 the relevant period. See id. at ¶¶ 1, 13-16.
 The Plaintiffs sued the Company, plus two of its leaders --- the
 Chief Executive Officer (“CEO”) and the Chief Financial Officer
 (“CFO”). See id. at ¶¶ 19-20. (From here, the Company, the
 CEO, and the CFO are collectively “the Defendants.” 2).
 The Plaintiffs sued under the Exchange Act of 1934.            See id. at
 ¶ 1. Their claims are in two counts.
 The first count invokes Section 10(b) of the Act, and Rule 10b-5
 promulgated by the Securities and Exchange Act Commission. 3 See
 id. at ¶ 367.
 The second count invokes 20(a) of the Act.         See id. at ¶ 372.

      C.    Procedural History

 The Plaintiffs’ First Amended Complaint was dismissed for
 failure to state a claim. See Wu v. GSX Techedu Inc., 2023 WL
 2207422 (D.N.J. Feb. 24, 2023).
 This Court, per Judge Salas, issued a thorough opinion. It held
 that certain claims failed to adequately allege a
 misrepresentation, see id. at *5-11, and that scienter was not
 adequately alleged as to other claims. See id. at *11-15. 4
 In light of Judge Salas’s opinion, the Plaintiffs filed a new
 Complaint. See Second Amended Complaint (April 25, 2023). The

 1  The lead Plaintiff is Yang Renbin. The remaining named
 Plaintiffs are Robert Angeline, Zequi Wu, Corey Hays, and
 Alexandre Tazi. All of them, as noted, were Company investors.

 2  The Defendants are: GSX Techedu Inc. (the Company); Larry
 Xiangdong Chen (the CEO); and “Nan” Shen (the CFO).

 3  “Rule 10b–5 implements section 10(b) of the Securities
 Exchange Act.” Riley v. Simmons, 45 F.3d 764, 773 n.9 (3d Cir.
 1995); see also Globis Cap. Partners, L.P. v. Stonepath Grp.,
 Inc., 241 F. App’x 832, 835 (3d Cir. 2007) (the Act’s “[S]ection
 10(b) . . . is enforced through Rule 10b–5”).

 4  About 4 months after Judge Salas issued her decision, this
 case was re-assigned to the undersigned.
                                     4
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 5 of 55 PageID:
                                   3098


 new Complaint (referred to here as “the Complaint”) added some
 allegations, and dropped some others. It also shifted how it
 made use of certain allegations, and supplemented the
 allegations as to scienter in light of issues that has been
 identified by Judge Salas.

       D.   The Motion

 The Defendants have moved to dismiss the Complaint under Rule
 12(b)(6) of the Federal Rules of Civil Procedure.
 The motion is now before the Court.

       E.   The Court’s Approach

 To analyze the motion, the Court begins by briefly laying out
 the relevant legal standards. See Part II.
 The Court then considers the three reasons that, per the
 Defendants, the Plaintiffs’ claims must be dismissed.
 The Defendants argue that the Plaintiffs have not adequately
 alleged (1) a misrepresentation, (2) scienter, or (3) loss
 causation.
 But the Court concludes that these arguments are by and large
 not persuasive --- in Part III (misrepresentation), in Part IV
 (scienter), and in Part V (loss causation).
 In light of this conclusion, the motion to dismiss is largely
 denied. See Part VI.

 II.   Legal Standards

 Start with the legal standards that a Complaint must meet to
 survive a motion to dismiss.
 These fall into two categories. There are pleading standards,
 see Part II.A, which indicate what a plaintiff must do to hit
 its marks. And these are substantive standards, see Part II.B,
 which indicate what the marks are.

       A.   Pleading Standards

 In deciding a motion to dismiss under Federal Rule of Civil
 Procedure 12(b)(6), as this one is, the Court is “required to
 accept as true all factual allegations in the complaint and draw
 all inferences from the facts alleged in the light most
 favorable to [the plaintiff].” Phillips v. County of Allegheny,
 515 F.3d 224, 228 (3d Cir. 2008).


                                     5
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 6 of 55 PageID:
                                   3099


 Motions to dismiss are assessed as follows.
 First, the Court “must tak[e] note of the elements [a] plaintiff
 must plead to state a claim.” Connelly v. Lane Constr. Corp.,
 809 F.3d 780, 787 (3d Cir. 2016) (quoting Ashcroft v. Iqbal, 556
 U.S. 662, 675 (2009)). 5
 Second, the Court must identify those allegations in the
 complaint that are merely conclusory, and set them to one side
 as irrelevant to the analysis. See id.
 And third, the Court must determine whether the remaining
 allegations “plausibly give rise to an entitlement to relief.”
 Connelly, 809 F.3d at 787 (quoting Iqbal, 556 U.S. at 679).
 These standards apply across the board, to all Rule 12(b)(6)
 motions.
 But the bar is higher here.
 That is because two added pleading strictures apply. First,
 Federal Rule of Civil Procedure 9(b), because this case sounds
 in fraud. And second, the Private Securities Litigation Reform
 Act of 1995 (“the PSLRA”).
       [Plaintiffs who] allege fraud . . . “must state
       with particularity the circumstances constituting
       fraud or mistake.” Fed. R. Civ. P. 9(b).
       Moreover, . . . the PSLRA imposes greater
       particularity requirements concerning alleged
       material misrepresentations and scienter. A
       complaint must “specify each statement alleged to
       have been misleading, the reason or reasons why
       the statement is misleading, and, if an
       allegation . . . is made on information and
       belief . . . all facts on which that belief is
       formed.” 15 U.S.C. § 78u-4 (b)(1). Concerning
       scienter, a complaint must “state with
       particularity facts giving rise to a strong
       inference that the defendant acted with the
       required state of mind.” 15 U.S.C. § 78u-4
       (b)(2)(A). The PSLRA’s heightened standard
       exists “to curb frivolous, lawyer-driven
       litigation, while preserving investors’ ability
       to recover on meritorious claims.” Tellabs, Inc.



 5   The elements are “note[d]” just below, in Part II.B.


                                     6
Case 2:20-cv-04457-MEF-JRA    Document 112   Filed 06/25/24   Page 7 of 55 PageID:
                                    3100


        v. Makor Issues & Rts, Ltd., 551 U.S. 308, 322
        (2007).
 Fan v. StoneMor Partners LP, 927 F.3d 710, 714–15 (3d Cir.
 2019); see also In re Rockefeller Ctr. Props., Inc. Sec. Litig.,
 311 F.3d 198, 224 (3d Cir. 2002) (holding that Rule 9(b) and the
 PSLRA “impose independent, threshold pleading requirements that,
 if not met, support dismissal apart from Rule 12(b)(6)”); see
 also Hacker v. Elec. Last Mile Sols. Inc., 687 F. Supp. 3d 582,
 588 (D.N.J. 2023).

        B.   Substantive Standards

 As noted, see Part I.B, the Plaintiffs press two counts under
 the Exchange Act of 1934.

             1.   Section 10(b)

 Count One is brought under Section 10(b) of the Exchange Act.
 See Complaint ¶ 367.
 A Section 10(b) claim “has six elements: (i) a misrepresentation
 or omission of material fact; (ii) scienter; (iii) a connection
 with the purchase or sale of a security; (iv) reliance; (v)
 economic loss; and (vi) loss causation.” City of Warren Police
 & Fire Ret. Sys. v. Prudential Fin., Inc., 70 F.4th 668, 679 (3d
 Cir. 2023); see also Hacker, 687 F. Supp. 3d at 587.

             2.   Section 20(a)

 Count Two is pressed under Section 20(a) of the Exchange Act.
 See Complaint ¶ 372.
 “Section 20(a) of the Exchange Act imposes joint and several
 liability upon one who controls a violator of Section 10(b).”
 In re Suprema Specialties, Inc. Sec. Litig., 438 F.3d 256, 284
 (3d Cir. 2006); see also Janus Cap. Grp., Inc. v. First
 Derivative Traders, 564 U.S. 135, 146 (2011).
 “[T]he plaintiff must prove that one person controlled another
 person or entity and that the controlled person or entity
 committed a primary violation of the securities laws.” Suprema,
 438 F.3d at 284; see also Rahman v. Kid Brands, Inc., 736 F.3d
 237, 247 (3d Cir. 2013).

 III.    Misrepresentations

 The Defendants’ first argument: the Complaint does not properly
 plead a misrepresentation or omission of material fact, and this


                                      7
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 8 of 55 PageID:
                                   3101


 dooms both Count One and Count Two.        See Motion to Dismiss at
 21.
 In particular, the argument goes, three main sets of
 misrepresentations are not properly pled.
 The Court considers this argument here, with each of the three
 sets of misrepresentations assessed below.

      A.    Student Enrollment

 Start with the alleged false statements as to the Company’s
 student enrollment data.
 The Complaint points to a variety of student enrollment
 statements made in 2019 and 2020 (“Enrollment Statements”).
 From 2019, the Enrollment Statements were made: in initial
 public offering materials (see Complaint ¶¶ 195-99); in
 Securities and Exchange Commission filings (see id. at ¶¶ 200-
 06, 212-17, 222-25); and orally by the CEO and the CFO during
 earnings calls (see id. at ¶¶ 206-11, 218-21).
 The Enrollment Statements from 2020 are, in essence, more of the
 same. They were made in Securities and Exchange Commission
 filings (see id. at ¶¶ 234-37, 247-52, 263-68, 275-80); Company
 press releases (see id. at ¶¶ 261-62, 269-72); oral statements
 from the CEO and the CFO during earnings calls (see id. at 238-
 46); and oral statements by the CEO and CFO in other public
 contexts (see id. at ¶¶ 253-60).
 The Enrollment Statements each provide a fairly specific
 recounting of the number of students enrolled in Company
 classes, including statements as to enrollment growth. See,
 e.g., id. at ¶ 224 (“GSX 6 represented that total enrollment in
 its courses increased from 79,632 students in 2017 to 767,102
 students in 2018”) (cleaned up); id. at ¶ 234 (“GSX claimed that
 total enrolments increased 290.2% year-over-year to 1,120,000
 students”); id. at ¶ 239 (“[t]otal enrollments . . . hit a
 record high of 1.12 million, which was 3.9x that of the same
 period of 2018”).
 Per the Plaintiffs, these Enrollment Statements were false, and
 materially so. See, e.g., ¶¶ 225, 235, 240.



 6  “GSX” is shorthand for GSX Techedu Inc. Recall that it is
 referred to in this Opinion and Order as “the Company.” See
 footnote 2.


                                     8
Case 2:20-cv-04457-MEF-JRA    Document 112   Filed 06/25/24   Page 9 of 55 PageID:
                                    3102


 False because “student” enrollment means enrollment by human
 students --- but some of the Company’s “students” were in fact
 bots 7 posing as people. See id.
 And materially false --- because the Company’s student
 enrollment numbers were not off by a little here and there, but
 by a large amount. See id.
 In response, the Defendants argue that there are insufficient
 allegations that a substantial percentage of the Company’s
 enrollment numbers were based on bot enrollments. See Motion to
 Dismiss at 28, 36.
 But this argument is not persuasive.
 It runs aground on extensive and detailed allegations from
 confidential witnesses who worked for or with the Company, see
 Part III.A.1, and also on a third-party report, see Part
 III.A.2.

            1.    Witnesses

 The Plaintiffs put forward various allegations as to false
 student enrollment numbers based on information sourced to
 unnamed confidential witnesses. See Complaint ¶¶ 63-95.
 These allegations are taken up below, confidential witness by
 confidential witness.
 As part of doing so, the Court determines whether, as to each
 witness, there is a need to “discount” the weight given to that
 witnesses’ allegations, or to disregard the allegations
 entirely. See generally Instit. Invs. Grp. v. Avaya, Inc., 564
 F.3d 242, 263 (3d Cir. 2009) (when evaluating the allegations of
 a confidential witnesses, courts must consider certain
 “criteria,” and “[i]f anonymous source allegations are found
 wanting with respect to these,” then the allegations “must [be]
 discount[ed]” to an appropriate extent, or disregarded).

                  a)   CW-3

 Begin with the allegations from Confidential Witness-3, or “CW-
 3.” See Complaint ¶¶ 75-78.
 The main bulk of the Complaint’s CW-3’s allegations:




 7  Recall that a “bot” is a software application that runs
 automated tasks. See id. at ¶ 3.
                                      9
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 10 of 55 PageID:
                                    3103


       CW-3 was employed by a third-party brushing 8 firm in Beijing
       from January 1, 2019 through December 31, 2019. In this
       role, she was regularly paid commissions by GSX 9 to enroll
       in GSX’s courses with fake or assumed identities and to
       write positive reviews. CW-3 explains that “GSX
       management” had a contract with this third-party brusher,
       pursuant to which CW-3 and her colleagues would assume the
       identities of “and conduct activities as if [they] were
       real students.” CW-3 would “buy classes, write positive
       reviews, and join in the large classes to boost up [GSX]’s
       head counts” with harvested user data from various social
       media platforms, including WeChat . . . GSX paid the third-
       party brusher 50 RMB per enrollment.

       GSX planned its third-party brushing months in advance.
       Each quarter, GSX prepared and sent a “detailed brushing
       plan” to the third-party brusher. These plans specified
       the dates, times, course titles, tuition rates, and
       instructors for whom the third party was to focus its
       brushing efforts. CW-3 and her colleagues referenced and
       used these plans daily to ascertain the GSX courses in
       which to enroll and then attend, and the GSX instructors
       about whom to write positive reviews.

 Id. at ¶¶ 76-77.

 As noted above, see Part III.A.1, information from confidential
 witnesses sometimes needs to be “discount[ed].” Avaya, 564 F.3d
 at 263.
 Here, the Court concludes that CW-3’s allegations can be taken
 as allegations generally are at this stage --- as true, see,
 e.g., Wood v. Moss, 572 U.S. 744, 755 n.5 (2014), and at face
 value.
 Subject to a small exception, see Part III.A.1.iv, discounting
 is not necessary because CW-3’s allegations are detailed, see
 Part III.A.1.a.i; rest on solid-enough sources of information,


 8  “Brushing” means different things in different contexts. It
 is not defined in the Complaint. One common understanding of
 brushing: the use of deceptive methods, typically online, to
 burnish (“brush”) a company’s reputation (for example, by
 posting false product reviews) or sales numbers (for example, by
 sending people packages they did not order).

 9   This is the Company.     See footnotes 2, 6.
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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 11 of 55 PageID:
                                    3104


 see Part III.A.1.a.ii; and are corroborated in meaningful part,
 see Part III.A.1.a.iii.
                        i.    Detail
 Take, first, the level of “detail[]” of the above-quoted CW-3
 allegations. See generally Avaya, 564 F.3d at 263 (courts must
 “consider the detail provided by the confidential sources” in
 determining whether to “discount[]” or disregard their
 allegations) (cleaned up); accord, e.g., Rahman, 736 F.3d at
 244; Cal. Pub. Emps.’ Ret. Sys. v. Chubb Corp., 394 F.3d 126,
 147 (3d Cir. 2004).
 The above-quoted allegations are not sparse, vague, or generic.
 They are highly detailed.
 CW-3’s allegations are about as granular as allegations of
 confidential witnesses that the Third Circuit has, in other
 cases, held to be detailed-enough. 10




 10 See Avaya, 564 F.3d at 249-50, 260-264 (holding that
 confidential witness allegations were detailed enough when: they
 reflect information about the relevant company’s inability to
 compete with specific competitors, specific price reductions the
 company was forced to accept, and the specific clients who
 received discounts); Prudential Fin., Inc., 70 F.4th at 692
 (holding that confidential witness allegations were detailed
 enough when: the employee alleged that the relevant company was
 aware “that [the life insurance segment of its business] as a
 whole was ‘performing poorly’ and that the company attributed
 that poor performance to ‘negative mortality experience in the
 legacy [life insurance policies the company acquired]’” and
 “those developments caused [the company] to discuss as early as
 May 2019” that it would result in large costs); cf. Chubb Corp.,
 394 F.3d at 150 n.14 (seeming to embrace as “sufficient” the
 level of detail in In re Cabletron, 311 F.3d 11, 31 (1st Cir.
 2002), in which confidential witnesses provided information as
 to “tractor-trailers in the factory yard, equipment ‘borrowed’
 from employees’ desks to be fraudulently processed, and the
 unusual activity in the warehouse as products were shuttled back
 and forth,” plus “the name and address of one employee who is
 said to have stashed goods in the garage of his home,” and
 indications “that [a specific person] told him to do so”).


                                       11
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 12 of 55 PageID:
                                    3105


 And on the flip side, CW-3’s allegations are markedly more
 detailed than confidential witness allegations that have been
 held wanting for insufficient specificity by the Third Circuit. 11
 In short: CW-3’s allegations check the box --- they are
 sufficiently “detail[ed],” such that discounting is not
 necessary.   Avaya, 564 F.3d at 263.
                                *     *     *
 This conclusion makes sense in light of one of the key
 underlying reasons why confidential witness “detail[]” matters
 in the first place.
 To see the point, step back for a moment.
 In securities fraud cases, plaintiffs must often meet both the
 pleading standards set in place by the United States Congress
 (in the PSLRA) and the Federal Rules of Civil Procedure (in Rule
 9(b)). These are demanding, and require a good deal of
 “particularity.” See Tellabs, Inc., 551 U.S. at 313; In Re
 Exxon Mobil Corp. Sec. Litig., 500 F.3d 189, 191 n.2 (3d Cir.
 2007).
 But when it comes to particularity, confidential witness
 allegations start off at a deficit.
 Anonymity means that a basic piece of information --- whose
 allegations are these? --- is always missing.
 And that missing dollop of particularity can be a practical
 concern.
 Look to two examples.



 11 See Rahman, 736 F.3d at 245, 245 n.12 (holding that
 confidential witness allegations were not detailed enough when
 the allegations were that “things weren’t on the up and up,”
 including a “strange feeling things weren’t right,” and “[the
 subsidiary] had been ‘singularly uncooperative in complying with
 Sarbanes Oxley requirements’”) (cleaned up); OFI Asset Mgmt. v.
 Cooper Tire & Rubber, 834 F.3d 481, 495-97 (3d Cir. 2016)
 (holding that that confidential witness allegations were not
 detailed enough when the allegations were that the relevant
 company “had ‘apparently very little control over [a joint
 venture],’ that ‘[a different company] ‘pretty closely
 controlled [the joint venture],’ and that [the joint venture’s]
 independent financial system resulted in [the company] being
 ‘closed off’ from [the joint venture’s] financial information”).
                                     12
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 13 of 55 PageID:
                                    3106


 First, there is a possible danger that anonymous accusations,
 from a person or entity does not stand behind by name, can
 sometimes be less reliable. 12 In turn, less reliable information
 can spin off more in the way of meritless lawsuits --- and it
 was in part to cut down on such lawsuits that the particularity
 pleading standards were put in place. See, e.g., Rowinski v.
 Salomon Smith Barney Inc., 398 F.3d 294, 298 (3d Cir. 2005) (the
 particularly requirement “include[es] more stringent pleading
 requirements to curtail the filing of meritless lawsuits”)
 (cleaned up); Haliburton Co. v. Erica P. John Fund, Inc., 573
 U.S. 258, 277 (2014); Winer Family Tr. v. Queen, 503 F.3d 319,
 335 (3d Cir. 2007); In re Rockefeller Ctr. Props., Inc., 311
 F.3d at 216 (particularity standards are designed, in part, to
 “reduce[] the number of frivolous suits brought solely to
 extract settlements”) (cleaned up).
 A second example: without knowing who is saying something, it
 can be that much harder to put together a well-investigated
 defense --- and by doing so to differentiate on an information-
 rich basis, even before discovery, between meritless lawsuits
 and substantial one. But facilitating such analysis ---
 “giv]ing] defendants notice of the claims against them,” In re
 Rockefeller Ctr. Props., Inc., 311 F.3d at 216 (cleaned up) ---
 is a basic goal of heightened pleasing standards.
 Bottom line: confidential witnesses start out a step behind as
 to particularity --- and that can have practical consequences
 (including the two set out just above) that are at odds with why
 the particularity requirements were established in the first
 place.
 To close the gap, the federal courts have required additional
 information from confidential witnesses. 13


 12 This is, for example, a major theme of Fourth Amendment law.
 See, e.g., Florida v. J.L., 529 U.S. 266, 270 (2000) (“[u]nlike
 a tip from a known informant whose reputation can be assessed
 and who can be held responsible if her allegations turn out to
 be fabricated, . . . an anonymous tip” requires additional
 indicia of reliability) (cleaned up); Alabama v. White, 496 U.S.
 325, 329 (1990) (“the veracity of persons supplying anonymous
 tips is by hypothesis largely unknown, and unknowable” and
 courts must therefore look for additional indicia of reliability
 when relying on anonymous sources) (cleaned up).

 13 Two points. First, the Third Circuit has drawn a clear
 through line from (a) the heightened requirements of Rule 9 and
 the PSLRA to (b) the need for additional information when it
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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 14 of 55 PageID:
                                    3107


 But if one of the animating concerns of the law in this area is
 that confidential witnesses may not, without more, measure up to
 the applicable PSLRA/Rule 9(b) particularity standards --- then
 confidential witness allegations should plainly be sufficient
 when they do meet PSLRA/Rule 9(b) standards.
 Here, that is the case.




 comes to confidential witnesses. See e.g., Avaya, 564 F.3d at
 261 (“a complaint can meet the [particularity] pleading
 requirement [of the PSLRA] [when relying on confidential
 sources] by providing sufficient documentary evidence and/or a
 sufficient description”); City of Edinburgh Council v. Pfizer,
 Inc., 754 F.3d 159, 168 n.11 (3d Cir. 2014) (“[w]e apply the
 PSLRA’s heightened pleading requirements to confidential witness
 allegations by evaluating the detail provided by the
 confidential sources, the sources’ basis of knowledge, the
 reliability of the sources, the corroborative nature of other
 facts alleged, including from other sources, the coherence and
 plausibility of the allegations, and similar indicia”) (cleaned
 up); Prudential Fin., Inc., 70 F.4th at 680, 691 (similar);
 Rahman, 736 F.3d at 243-44 (similar). And second, the Third
 Circuit has also tied together the relevant bodies of law,
 sending their development down similar courses. Rule 9(b) and
 the PSLRA require more detail. See, e.g., Suprema, 438 F.3d
 256; City of Cambridge Ret. Sys. v. Altisource Asset Mgmt.
 Corp., 908 F.3d 872, 879 (3d Cir. 2018). And the question of
 sufficient detail is also a critical one for assessing
 confidential witnesses. See, e.g., Avaya, 564 F.3d at 261
 (“[w]e consider the detail provided by the confidential
 sources”) (cleaned up); City of Edinburgh Council, 754 F.3d at
 168 n.11 (same). In a similar vein, Rule 9(b) and the PSLRA
 often require plaintiffs to lay some of their cards on the
 table, as to how they know the things they say they do. See 15
 U.S.C. § 78u-4(b)(1) (under the PSLRA, “if an allegation
 regarding the statement or omission is made on information and
 belief, the complaint [must] state with particularity all facts
 on which that belief is formed”); Merrill Lynch, Peirce, Fenner
 & Smith Inc. v. Dabit, 547 U.S. 71, 81-82 (2006). And when it
 comes to confidential witnesses --- there is also a special
 focus on the witnesses’ sources of information. See Avaya, 564
 F.3d at 261 (for confidential witnesses courts consider “the
 sources’ basis of knowledge”); Pfizer, Inc., 754 F.3d at 168
 n.11 (similar); Prudential Fin., Inc., 70 F.4th at 680, 691
 (similar); Rahman, 736 F.3d at 243-44 (similar).

                                     14
Case 2:20-cv-04457-MEF-JRA    Document 112   Filed 06/25/24   Page 15 of 55 PageID:
                                     3108


 Under the PSLRA and Rule 9(b), allegations must spell out the
 “who, what, when, where, and how of the events at issue.”
 United States ex rel. Bookwalter v. UPMC, 946 F.3d 162, 176 (3d
 Cir. 2019); accord, e.g., In re Rockefeller Ctr. Props., Inc.
 Sec. Litig., 311 F.3d at 217.
 And so it stands to reason, and the Court holds, that when a
 confidential witness meets the who-what-when-where-and-how test
 generally required by the PSLRA and 9(b) --- then there is no
 basis to “discount[]” that witness’s information on the ground
 that is not detailed enough. 14
 As to CW-3, that test is easily satisfied.
 The Complaint sets out allegations as to what was done by CW-3
 and her colleagues (pretending to be “real students” and buying
 up spots in Company classes, see Complaint ¶ 76); how it was
 done (using “harvested” data, see id., and operating pursuant to
 a “detailed” quarterly plan, see id. at ¶ 77); why it was done
 (for commission payments, see id. at ¶ 76); and where it was
 done (from Beijing, see id.) and when it was done (for all of
 2019, see id.).
                                 *       *   *
 In a nutshell: there is more than enough detail here, and CW-3’s
 allegations do not need to be discounted for being too spare.
 This is clear from a look to the confidential witness detail
 mustered in analogous cases. And it is clear based on
 consideration of the underlying concerns that animate the law in
 this area.
                        ii.    Sources
 Turn now to the second step in the assessment of CW-3. This is
 the “basis of [her] knowledge.” Avaya, 564 F. 3d at 263;
 accord, e.g., Rahman, 736 F.3d at 244; Chubb Corp., 394 F.3d at
 147.
 As to what was quoted above, see Part III.A.1.a, CW-3’s
 allegations grow directly out of what she personally did. See
 Complaint ¶¶ 76-77. Her allegations describe her work, see id.,
 and the directions she received as part of it. See id. at ¶ 77.



 14 The Court offers no views on the converse situation ---
 whether a confidential witness provides a “detail[ed]” enough
 testimony to not be discounted, see Avaya, 564 F.3d at 261, if
 the witness does not meet the who-what-when-where-and-how test.


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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 16 of 55 PageID:
                                    3109


 Indeed, if called to testify at a trial, the large bulk of CW-
 3’s allegations would seem to be admissible --- they appear to
 have a “foundation” in things she saw and did. See generally
 Fed. R. Evid. 602 (a “witness may not testify to a matter unless
 evidence is introduced sufficient to support a finding that the
 witness has personal knowledge of the matter”); see also Brooks
 v. Am. Centennial Ins. Co., 327 F.3d 260, 268 (3d Cir. 2003)
 (discussing the need for an evidentiary foundation for a
 witness’s testimony).
 In short, CW-3’s allegations rest on sturdy-enough ground ---
 direct knowledge.
 They do so to roughly the same extent as confidential witness
 allegations that have been determined to be well-enough
 “source[d].” Avaya, 564 F. 3d at 263. 15

 And on the other hand, CW-3’s allegations are rooted in personal
 knowledge and experience to a much greater extent than
 confidential witness allegations that have been found not to
 measure up in other cases. 16

 15 See Avaya, 564 F.3d at 266 (holding that confidential witness
 allegations were sufficiently sourced when the plaintiffs
 adequately alleged “how or why their confidential sources would
 have the knowledge alleged,” by providing their specific
 positions and job responsibilities at the company in question,
 when they worked for the company and obtained the relevant
 information, and that their knowledge was firsthand) (cleaned
 up); Rahman, 736 F.3d at 241, 245 (holding that confidential
 witness allegations were sufficiently sourced when the witness
 worked as a Sarbanes Oxley compliance consultant for the
 company, and was therefore in a position to know that a
 subsidiary was uncooperative in complying with Sarbanes Oxley);
 Prudential Fin., Inc., 70 F.4th at 691-92 (holding that
 confidential witness allegations were sufficiently sourced when
 the source “regularly attended[ed] . . . forecast meetings with
 the actuarial, capital, and financial teams” for the life
 insurance segment of the business during the relevant time
 period, and that supported the allegation that “it was discussed
 in forecast meetings” that the life insurance segment of the
 business was “performing poorly” due to “negative mortality
 experience[s]”).

 16 See Rahman, 736 F.3d at 245 (holding that confidential
 witness allegations lacked an adequate basis when witnesses did
 not attend the meetings they provided information about and did
 not explain how they knew managers took certain steps); Chubb
                                     16
Case 2:20-cv-04457-MEF-JRA    Document 112   Filed 06/25/24   Page 17 of 55 PageID:
                                     3110


 The long and short of it: CW-3’s above-quoted allegations easily
 clear the “sources of information” hurdle, and do not need to be
 discounted.
                        iii. Corroboration
 Third and finally, courts are required to kick the tires to an
 extent --- to assess the confidential witness allegations from
 an external perspective (are they corroborated by other
 information?) and from an internal perspective (do the
 allegations hang together in a common sense way?). See Avaya,
 564 F.3d at 261 (holding that courts should consider “the
 corroborative nature of other facts alleged, including from
 other sources, [and] the coherence and plausibility of the
 allegations”).
 This corroboration-and-coherence test is met here.
 CW-3’s allegations dovetail closely with allegations from other
 confidential witnesses here. See, e.g., Part III.A.1.b., Part
 III.B. That provides ample corroboration. See generally Avaya,
 564 F.3d at 261 (discussing the ways in which confidential
 witness statements corroborate each other); Prudential Fin.,
 Inc., 70 F.4th at 692 (same); Glazer Cap. Mgmt., L.P. v.
 Forescout Techs., Inc., 63 F.4th 747, 772-3 (9th Cir. 2023)
 (same).
 And from the perspective of “experience and common sense,”
 Iqbal, 556 U.S. at 664, there is nothing about the above-quoted
 CW-3 allegations that is so incoherent or hard-to-believe that
 the allegations must be discounted.
                        iv.    Conclusion and Other Allegations
 The allegations from CW-3 are detailed, see Part III.A.1.a.i,
 well-enough sourced, see Part III.A.1.a.ii, and corroborated,
 see Part III.A.1.a.iii.
 They do not need to be discounted.          They can be taken as is.
 In addition to those already discussed, the Complaint sets out
 some more CW-3 allegations:


 Corp., 394 F.3d at 148-49 (holding that confidential witness
 allegations lacked sufficient sources when brief job
 descriptions, such as “senior customer service team leader,” did
 not show how the confidential witnesses could “possess
 information that the standard commercial business was succeeding
 or failing on a national level”); see also Martin v. GNC
 Holdings, Inc., 757 F. App’x 151, 154 (3d Cir. 2018).
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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 18 of 55 PageID:
                                    3111


       According to CW-3, in 2019, the third-party brusher’s 17
       employees, including CW-3, accounted for approximately 40%
       of all enrollments in GSX’s 18 K-12 courses, and wrote
       approximately 35% of the positive reviews for GSX’s K-12
       instructors. . . . As part of the scheme, when the Company
       sent its brushing plans to the third-party each quarter,
       GSX concurrently transferred the full amount of the tuition
       fees, together with commissions, for the agreed-upon fake
       enrollments.

 Complaint ¶¶ 76, 78.
 To determine if these need to be discounted, move through the
 three-part test sketched out above.
 First, these allegations are relatively “detailed.”             Avaya, 564
 F.3d at 263.
 Second, these allegations are coherent, and link up to other
 information in the Complaint. See, e.g., Part III.A.1.a,
 III.A.2; see generally Avaya, 564 F.3d at 261 (discussing the
 need for both corroboration and coherence).
 As to the third piece of the analysis: are CW-3’s allegations --
 - about “bot” percentages, and the Company’s quarterly payments
 --- well enough sourced?
 The best inference is: yes. Those allegations seem to flow from
 what CW-3 knows directly, through her work.
 As an initial matter, employees are often given at least some
 sense of how their work fits into the bigger picture. To
 prioritize tasks, for example, it is useful for an employee to
 know whether they are servicing a client who is relying on them
 heavily (“40% of all enrollments”) or to a lesser extent.
 In addition, CW-3 and her colleagues were allegedly using bots
 to, among other things, mimic the behavior of real students. It
 would be surprising if such employees did not have at least a
 rough sense of which students were real (60%) and which were
 bots (the 40% that were faked).
 And all the more so because bots allegedly engaged in
 discernible “bot-like” behavior, including things like making
 identical comments on classes. See Part III.A.1.d. It stands


 17   As to “brusher[],” see footnote 8.

 18   Recall that GSX is the Company.       See footnotes 2, 6.


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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 19 of 55 PageID:
                                    3112


 to reason that people professionally deploying bots can readily
 tell the difference between those who are bots and those that
 are not. And once that distinction is top of mind --- it is
 straightforward enough for CW-3 to come to a rough conclusion as
 to how many of the students were, in fact, bots deployed by her
 company.
 All of this adds up to an inference of solid-enough sourcing for
 CW-3’s allegations.
 But an alternative inference is possible. CW-3 may have learned
 of the 40% number in a second-hand way --- for example, as a
 piece of workplace gossip. Cf. Chubb Corp., 394 F.3d at 148
 (the Court is “left to speculate whether the anonymous sources
 obtained the information they purport to possess by firsthand
 knowledge or rumor”).
 Given this possible inference, the value of the CW-3 allegations
 set out in this section must be trimmed back to an extent.
 The Court discounts them a bit, and affords them less weight on
 the scale than the other CW-3 allegations.

                   b)   CW-2

 Zero in now on the next confidential witness, “CW-2.”
 CW-2 allegedly worked at the Company, see Complaint ¶ 67, and
 the key allegations associated with her are as follows:
      •   The Company began using bots to bump up enrollment in
          2015. See Complaint ¶ 68.
      •   To what extent? CW-2 provided an example: in classes of
          five students, 500 bot-generated users would be enrolled
          in the class as “students,” see id. at ¶ 68, and these
          bots then bought new Company class enrollments, signed in
          and out of classes, and sent messages to other students.
          See id.
      •   Accomplishing this apparently required a good deal of
          computing power, and more than half of the Company’s
          Beijing headquarters were occupied with servers, each of
          which controlled around 1,000 bots. See id. at ¶ 70.
 These allegations do not need to be discounted. 19
 First, they are plainly “detailed,” well beyond the baseline
 established by the leading cases. See Avaya, 564 F.3d at 249-

 19   This is subject to the third point in footnote 20.


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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 20 of 55 PageID:
                                    3113


 50, 260-264; Rahman, 736 F.3d at 245, 245 n.12; Chubb Corp., 394
 F.3d at 150 n.14; Cooper Tire & Rubber, 834 F.3d at 495-97;
 Prudential Fin., Inc., 70 F.4th at 692; see generally Part
 III.A.1.a.i (discussing the law in this area).
 Second, these allegations appear to be rooted in solid-enough
 sources. CW-2’s knowledge allegedly flows directly from her
 work. She is said to have been a Company engineering manager
 who supervised Company software engineers. See Complaint ¶ 67.
 And she worked out of the Company’s Beijing headquarters, see
 id., where she could presumably observe the size of the server
 farms alluded to in the Complaint.
 This degree of “sourc[ing]” has been held to pass muster. See
 Avaya, 564 F.3d at 266; Rahman, 736 F.3d at 245; Chubb Corp.,
 394 F.3d at 148-49; Prudential Fin., Inc., 70 F.4th at 691-92;
 GNC Holdings, Inc., 757 F. App’x at 154; see generally Part
 III.A.1.a.ii (discussing the law in this area).
 And third and finally: CW-2’s allegations are amply
 corroborated. They are buttressed by other allegations in this
 case. See Complaint ¶¶ 63-65 (describing rooms full of bot-
 phones in the Beijing headquarters), id. at ¶¶ 60-61 (report
 concluding 70% of users were bots). This is more than enough.
 See Avaya, 564 F.3d at 261; Prudential Fin., Inc., 70 F.4th at
 692; Forescout Techs., Inc., 63 F.4th at 772-3; see generally
 Part III.A.1.a.iii (discussing the law in this area). 20


 20 Three notes. First, CW-2 also alleges that the Company paid
 a third-party entity to “brush” enrollment numbers. See
 Complaint ¶ 72. This allegation exerts somewhat less of a pull
 than the allegations cited in the text. It is strongly
 corroborated --- for example, by CW-3’s testimony. See id. at ¶
 76; see generally Avaya, 564 F.3d at 261; Prudential Fin., Inc.,
 70 F.4th at 692; Forescout Techs., Inc., 63 F.4th at 772-73.
 But the source of this information is not crystal clear. See
 generally Avaya, 564 F.3d at 266; Rahman, 736 F.3d at 245; Chubb
 Corp., 394 F.3d at 148-49; Prudential Fin., Inc., 70 F.4th at
 691-92; GNC Holdings, Inc., 757 F. App’x at 154. Second, there
 are also some CW-2 allegations as to which Judge Salas held that
 the basis of CW-2’s knowledge is, as pled, too little to go on.
 See Wu, 2023 WL 2207422, at *7. The Court does not consider
 those allegations. Third, Judge Salas previously determined
 that CW-2’s allegations should be discounted to an extent
 because she was not interviewed by the Plaintiffs, see Complaint
 ¶ 348, and because the Complaint does not say when she stopped
 working at the Company. See Wu, 2023 WL 2207422, at *7. The
 Court hews to Judge Salas’s holdings, see Musacchio v. United
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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 21 of 55 PageID:
                                    3114


                    c)   CW-1

 Move on now to the next confidential witness, “CW-1,” who
 allegedly worked for the Company. See Complaint ¶ 63.
 The key CW-1 allegations:
      •   CW-1 harvested data from WeChat 21 accounts to set up fake
          accounts for “students,” see id. at ¶ 65, and reprogramed
          electronic devices, mainly with the social media data. See
          id.
      •   These devices then functioned as bots --- and enrolled in
          Company courses, logged into them, and wrote online reviews
          of the classes. See id.
      •   CW-1 was paid directly by the Company for her work,
          sketched out above. See id. at ¶ 64.
      •   The Beijing headquarters of the Company contained “mobile
          phone rooms” that contained “many thousands” of phones
          packed on shelves. Id. (The inference: these were used to
          enroll fake students at scale.).

 These allegations do not need to be discounted.
 First, they are “detailed” enough. See Avaya, 564 F.3d at 249-
 50, 260-264; Rahman, 736 F.3d at 245, 245 n.12; Chubb Corp., 394
 F.3d at 150 n.14; Cooper Tire & Rubber, 834 F.3d at 495-97;
 Prudential Fin., Inc., 70 F.4th at 692; see generally Part
 III.A.1.a.i (discussing the law in this area).
 Second, CW-1’s “sources” are that she allegedly was an engineer
 who worked out of the Company’s Beijing headquarters, where she
 personally programmed bot-phones. See Complaint ¶ 63. This is
 more than enough to go on. See Avaya, 564 F.3d at 266; Rahman,
 736 F.3d at 245; Chubb Corp., 394 F.3d at 148-49; Prudential
 Fin., Inc., 70 F.4th at 691-92; GNC Holdings, Inc., 757 F. App’x
 at 154; see generally Part III.A.1.a.ii (discussing the law in
 this area).
 And third, CW-1’s allegations are strongly corroborated --- by
 other, similar strands of allegations that they are tightly

 States, 577 U.S. 237, 244-45 (2016) (“The law-of-the-
 case doctrine generally provides that when a court decides upon
 a rule of law, that decision should continue to govern the same
 issues in subsequent stages in the same case.”) (cleaned up),
 and applies the discount she identified.
 21 “WeChat is a Chinese multi-purpose messaging, social media
 and mobile payment app.” Complaint ¶ 26.
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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 22 of 55 PageID:
                                    3115


 braided together with. Compare, e.g., Complaint ¶ 64 (CW-1:
 describing rooms full of many thousands of phones in the Beijing
 headquarters) with id. at ¶¶ 69-70 (CW-2: describing rooms full
 of servers in the Beijing headquarters); compare, also, e.g.,
 id. at ¶ 65 (CW-1: implying bot-phones enrolled in classes) with
 id. at ¶ 69 (CW-2: alleging that bot-controlled devices assigned
 a mobile phone number enrolled in classes).
 This is more than enough corroboration. See Avaya, 564 F.3d at
 261; Prudential Fin., Inc., 70 F.4th at 692; Forescout Techs.,
 Inc., 63 F.4th at 772-3; see generally Part III.A.1.a.iii
 (discussing the law in this area).

                  d)    CW-5

 Take the next confidential witness, “CW-5,” who allegedly
 enrolled in one of the Company’s online classes in September
 2019. See Complaint ¶ 80. Upon enrollment, she was given
 access to two group text accounts --- one purportedly for
 students enrolled in the class, and one for their parents. See
 id. The class was due to meet for 4 hours, but it stopped short
 after one hour. See id. at ¶ 81. The allegations:
       On the first day of class, the instructor taught for about
       one hour, after which “there was nothing” in the classroom,
       so CW-5 sent a message to the student and parent WeChat
       groups, inquiring whether any others were suddenly unable
       to view the course content. In the parent group, two
       users, each purporting to be parents of enrolled students,
       responded within seconds of each other with identical
       messages, explaining that it was the “Self-Study Period.”

       Approximately ten minutes after the class period ended, at
       around 12:10 p.m., individuals purporting to be students
       and parents, each “with different WeChat IDs sent out as
       many as five groups of almost identical praise” for the
       instructor in both the student group and in the parent
       group.

       For example, two “different” individuals in both groups
       said: “Teacher Song really hit the nail on the head, love
       it,” using identical Chinese characters in the same order.

       In another example, two “different” individuals in both
       groups said: “I always wanted to learn from root words like
       this, Teacher Song did very well. Perfect, looking forward
       to tomorrow’s class,” using identical Chinese characters in
       the same order:

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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 23 of 55 PageID:
                                    3116




       In another example, two “different” individuals in both
       groups said: “I enjoy this methodology for memorizing
       words. Doing more with less, I like it,” using the same
       Chinese characters in the same order

       In another example, two “different individuals in both
       groups said: “The teacher speaks very well, very helpful
       for children. Great!,” using the same Chinese characters
       in the same order.

       According to CW-5, each of the class sessions she attended
       followed the same routine: an instructor would teach for
       about one hour and then leave the platform. Ten minutes
       after the class was scheduled to end, different users in
       both the student and parent groups would post favorable
       reviews of the lesson and of the instructor using identical
       grammatical syntax.

 Id. at ¶¶ 81-87 (excluding screenshots provided in these
 paragraphs).
 These allegations can be taken as is.        There is no need for a
 mark down.
 The reason: in light of the legal principles that have now been
 discussed a number of times, see Part III.A.1.a.i - Part
 III.A.1.a.iii, CW-5’s allegations are (a) sufficiently detailed;
 (b) well-sourced (she was, for example, allegedly a student in
 the classes she described, see Complaint ¶ 80), and (c) amply
 corroborated (including by alleged screen captures of group
 texts she was in, which are embedded in the Complaint, see id.
 at ¶¶ 84-85.).

                  e)    CW-6

 Finally, consider confidential witness “CW-6,” a teacher who
 taught online chemistry classes for the Company for a bit more
 than a month during 2019, alongside 200 other teachers. See id.
 at ¶ 91. Per CW-6:
       CW-6 and the tutors routinely assumed alternative
       identities to purchase promotional courses to inflate
       enrollment numbers. CW-6 and the tutors did this using the
       WeChat credentials of former “one-time” promotional-course
       purchasers who did not continue their enrollments. CW-6
       and the other tutors took screenshots of these sham
       transactions and sent them to the current “one-time”
       customers, claiming falsely that there “were only a few

                                     23
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 24 of 55 PageID:
                                    3117


       spots left” in the given course, hoping to induce more
       demand. Moreover, to “liven up the atmosphere” among
       customers, CW-6 and the other tutors routinely “brushed”
       course reviews in the WeChat groups, at [the Company’s]
       direction.
 Id. at ¶ 93.
 This is not especially telling information. It covers only a
 narrow period of time, and one branch location. See Wu, 2023 WL
 2207422, at *8.
 But there is otherwise no reason to reduce its value here. It
 is detailed. See generally Part III.A.1.a.i. It is based on
 personal knowledge. See generally Part III.A.1.a.ii. And it is
 corroborated by other allegations. See generally Part
 III.A.1.a.iii; compare, e.g., Complaint ¶ 69-71, 73 (CW-2:
 describing how teachers brushed student enrollment and remotely
 controlled bot behavior in classes) with id. at ¶¶ 92-93 (CW-6:
 discussing how teachers brushed student enrollment and brushed
 course reviews).

                  f)    Conclusion

 As set out above, some of the allegations of the confidential
 witnesses need to be discounted. In some instances, for
 example, it is not clear how a particular confidential witness
 knows something. See, e.g., Part III.A.1.b.    And one of the
 confidential witnesses was not interviewed by the Plaintiffs.
 See footnote 20.
 But these are here-and-there limitations, not across-the-board
 problems. By and large, the confidential witness allegations do
 not need to be discounted. They must generally be accepted at
 face value. See generally Wood, 572 U.S. at 755 n.5 (“[i]n
 ruling on a motion to dismiss, we have instructed, courts ‘must
 take all of the factual allegations in the complaint as true’”)
 (quoting Iqbal, 556 U.S. at 678).
 Taken together, see Tellabs, Inc., 551 U.S. at 322, the
 confidential witnesses paint an unmistakable picture of
 allegedly systematic and large-scale use of bots by the Company
 to generate fake student enrollments.
 Company employees say so. A customer says so. And so does the
 employee of a third-party entity --- who was allegedly paid
 commission to gin up class enrollments, using bot students
 posing as real ones. See generally Chubb Corp., 394 F.3d at 155
 (“Citing to a large number of varied [confidential witness]
 sources may in some instances help provide particularity, as

                                     24
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 25 of 55 PageID:
                                    3118


 when the accounts supplied by the sources corroborate and
 reinforce one another.”).
 As to Company employees: they allege systematic harvesting of
 online information to create fake “student” profiles --- and
 then enrolling the fake students in Company classes. See
 Complaint ¶ 93 (CW-6), ¶ 65 (CW-1). They allege, at least at
 one moment in time, a ratio of fake:real students of 100:1. See
 id. at ¶ 68 (CW-2). And they allege that Company headquarters
 was physically dominated by servers, see id. at ¶ 70 (CW-2), and
 “mobile phone rooms” that contained “many thousands” of phones
 packed on shelves, see id. at ¶ 64 (CW-1) --- presumably to be
 controlled by bots programmed to seem like students, and to
 enroll in classes.
 As to the customer, she alleges being in a Company class --- and
 being presented with all-but unmissable indications that many of
 the other “people” in her class were bots. For example, when a
 Company teacher cut short a class by about three hours,
 surprisingly positive messages were then sent into “student” and
 “parent” group chats. The messages were from different phones -
 -- but used the same words. See id. at ¶ 84 (“I always wanted
 to learn from root words like this, Teacher Song did very well.
 Perfect, looking forward to tomorrow’s class[.]”).
 And finally, the employee of a third-party entity alleges that
 she and her colleagues were paid to generate fake student
 enrollments, using a detailed blueprint supplied by the Company.
 The Company, it is alleged, “prepared and sent” a plan that
 “specified the dates, times, course titles, tuition rates, and
 instructors for whom the third party was to focus its . . .
 efforts. CW-3 and her colleagues referenced and used these
 plans daily to ascertain the GSX courses in which to enroll and
 then attend[.]” Id. at ¶ 77 (CW-3).
 In sum: through confidential witnesses, the Complaint sets out
 detailed allegations that the Company used bots on a widespread
 and systematic basis to markedly increase student enrollment
 numbers.

             2.   Additional Information

 As to inflated student enrollment numbers, the Complaint folds
 an additional allegation into the mix.




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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 26 of 55 PageID:
                                    3119


 In particular, the Complaint cites a published third-party
 report (“Report-1” 22) that analyzed Company-supplied data --- and
 concluded that more than 70% of the Plaintiffs’ students were,
 in fact, bots. See id. at ¶¶ 34-35. 23
 The Defendants argue that, essentially for two reasons, Report-
 1’s data-analysis should be put to the side, and not relied on
 here by the Court. See Motion to Dismiss at 23, 26, 28, 31.
                                *     *     *
 First, the Defendants say that Report-1 was prepared by a short
 seller, 24 see id. at 23, and that some courts have held that
 short seller reports should be given an especially hard look ---
 and may sometimes need to be marked down. See Valdes v. Kandi
 Tech. Grp., Inc., 2024 WL 1348697, at *4 (E.D.N.Y. Mar. 29,
 2024); Ng v. Berkley Lights, Inc., 2024 WL 695699, at *9 (N.D.
 Cal. Feb. 20, 2024); Saskatchewan Healthcare Emps. Pension Plan
 v. KE Holdings Inc., 2024 WL 775195, at *22-23 (S.D.N.Y. Feb.
 26, 2024); In re DraftKings, Inc. Sec. Litig., 650 F. Supp. 3d
 120, 154 (S.D.N.Y. 2023); In re EHang Holdings Ltd. Sec. Litig.,
 646 F. Supp. 3d 443, 459-60 (S.D.N.Y. 2022); In re Hebron Tech.
 Co., Ltd. Sec. Litig., 2021 WL 4341500, at *13 (S.D.N.Y. Sept.
 22, 2021); Miao v. Fanhua, Inc., 442 F. Supp. 3d 774, 801


 22 Report-1 is a May 18, 2020 report issued by Muddy Waters
 Capital.

 23 Report-1, and the other reports discussed later by the Court,
 are attached as exhibits to the motion to dismiss. They are
 incorporated by reference into the Complaint, and the Plaintiffs
 do not dispute their authenticity. They may be assessed here.
 See, e.g., Santomenno ex rel. John Hancock Tr. v. John Hancock
 Life Ins. Co., 768 F.3d 284, 291 (3d Cir. 2014).

 24 Short sellers sell stock they do not yet own. See GFL
 Advantage Fund, Ltd. v. Colkitt, 272 F.3d 189, 196 (3d Cir.
 2001). Usually, they accomplish this by borrowing shares from a
 broker for a set price or fee. See id. The short seller is
 required to purchase the same or equivalent number of shares to
 repay the broker, at a certain later time. See id. This allows
 short sellers to make a profit if the stock price declines
 between the two transactions. See id. “In other words, short
 sellers are betting that the stock price will decline between
 the time they sell the borrowed stock and the time they must
 ‘cover,’ i.e., purchase replacement shares to repay the borrowed
 stock.” Id.


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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 27 of 55 PageID:
                                    3120


 (S.D.N.Y. 2020); cf. In re Bofl Holding, Inc. Sec. Litig., 977
 F.3d 781, 797 (9th Cir. 2020).
 The Courts assumes arguendo, solely for present purposes, that
 the hard look approach is the right one. 25
 For hard look courts, the question of whether and to what extent
 to discount short seller reports requires considering the same
 questions that are asked of confidential witnesses --- questions
 discussed above, see Part III.A.1., about level of detail,
 sourcing, and corroboration. See Berkley Lights, Inc., 2024 WL
 695699, at *9; KE Holdings Inc., 2024 WL 775195, at *22-23; In
 re EHang Holdings Ltd. Sec. Litig., 646 F. Supp. 3d at 459-60;
 In re Hebron Tech. Co., Ltd. Sec. Litig., 2021 WL 4341500, at
 *13; Miao, 442 F. Supp. 3d at 801.
 But here, a detail-sources-corroboration inquiry does not
 suggest any need to trim back the weight accorded to Report-1.
 Report-1 is detailed. It is 25 pages, and it is granular. It
 lays out the number of sign-ins, users, and classes that were
 analyzed. See Report-1 at 3. It describes with specificity the
 information on users that Report-1 was able to obtain and work
 through --- user name, name, class join time, exit time, class
 ID, and IP address. See id. at 13-14. And it explains both why
 certain categories of behavior are likely to be indicative of
 bots, see id. at 5, 7-8, 10, and exactly how many Company
 “students” fell into each of these categories. See id. at 5-10.
 As to the alleged sources that Report-1 says it is based on ---
 they are solid. The authors of Report-1 paid for Company
 classes, see id. at 13-14, 17-20, and got access to a large
 trove of data, see id., for users in over 200 classes. See id. 26


 25 The Third Circuit has not yet weighed in on this question.
 And not all courts have treated short seller reports with
 special skepticism. See, e.g., In re Eros Int’l PLC Sec.
 Litig., 2021 WL 1560728, at *9 (D.N.J. Apr. 20, 2021); McIntire
 v. China MediaExpress Holdings, Inc., 927 F. Supp. 2d 105, 123-
 24 (S.D.N.Y. 2013) (similar); Ho v. Duoyuan Glob. Water, Inc.,
 887 F. Supp. 2d 547, 564 (S.D.N.Y. 2012) (similar); Lewy v. Sky
 People Fruit Juice, Inc., 2012 WL 3957916, at *13 (S.D.N.Y.
 Sept. 10, 2012) (similar); In re China Educ. All., Inc. Sec.
 Litig., 2011 WL 4978483, at *4 (C.D. Cal. Oct. 11, 2011)
 (similar).
 26 For one platform, they were able to access this data by
 logging into the Company’s classes, selecting certain items in
 developer view, and then looking for a certain value for each
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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 28 of 55 PageID:
                                    3121


 As to corroboration, the Report’s core conclusion is that a
 large percentage of the Company’s students were, in fact, bots.
 See Complaint ¶ 35. This is corroborated by the various
 confidential witnesses --- whose allegations point to that same
 conclusion. See Part III.A.1. 27
 In short: even assuming arguendo that short seller reports
 should sometimes be given a hard look and discounted, there is
 no need for such discounting here. This is because discounting
 is only potentially needed when a short seller report is wanting
 in terms of detail, sources and corroboration --- but Report-1
 is not.
                                *     *     *
 The Defendants’ second argument is that, discounted or not,
 Report-1’s analysis is flawed --- and it therefore cannot


 class. By copying this value, they were able to download it
 into a zip file. See id. at 17-19. For the second platform,
 they downloaded an app on their phone and then configured the
 phone to send data through an intercepting HTTP proxy, which
 allowed them to watch messages running between the phone and the
 Company server. This allowed the authors of Report-1 to discover
 a path to the class archives, which they were able to download
 for each class. See id. at 19-20.
 27 There is another kind of asserted corroboration here, but it
 is less telling. The Plaintiffs hired an expert who allegedly
 looked to the same data as the authors of Report-1, analyzed
 that data using the same methods, and came to essentially the
 same conclusions. See Complaint ¶¶ 34-35. Replication of this
 sort is meaningful. See generally S. Schmidt, Shall We Really
 Do It Again? The Powerful Concept of Replication is Neglected
 in the Social Sciences, Review of General Psychology 13 (2009).
 But here, as in many cases, replication is just table stakes,
 the price of admission --- an analysis generally needs to be
 reasonably replicable to be relied on to any extent. But the
 fact that a successful do-over is necessary does not mean that
 the do-over is corroborative. The law typically envisions a
 kind of triangulation, where multiple lines of allegations
 (here: data analysis of the kind undertaken in Report-1 --- plus
 allegations from confidential witnesses) all suggest the same
 conclusion (here: that many of the Company’s students were in
 fact bots). Replication and triangulation are not the same
 thing. See generally Munafò MR, Davey Smith G, Comment, Robust
 Research Needs Many Lines of Evidence, Nature, Jan. 23, 2018.


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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 29 of 55 PageID:
                                    3122


 support the conclusion that most of the Company’s students were
 actually bots.
 But this, too, is not persuasive.
 The Defendants argue that the data set used in Report-1 is too
 small, and therefore may not be representative. See Motion to
 Dismiss at 31-32; Int’l Bhd. of Teamsters v. United States, 431
 U.S. 324, 339 n.10 (1977) (“[c]onsiderations such as small
 sample size may, of course, detract from the value of . . .
 evidence”).
 But Report-1 relies on information from over 200 classes, with
 data from 54,000 users, and 463,217 sign-in records from January
 to March 2020. See Complaint ¶ 38.
 In absolute terms, these are not small numbers.
 And not in relative terms, either. For one of the years in
 question, the Company is said to have enrolled 2,743,000
 students, see id. at ¶ 234, with an average enrollment (at least
 for one quarter) of 1,400 students per class. See id. at ¶ 218.
 This implies a total of around 1,959 classes allegedly offered,
 and looking at data from 200 classes (as Report-1 allegedly did,
 see Report-1 at 14) is to look at information from around 10.2%
 of the Company’s classes. 28 That is a meaningful sample size.
 See Roscoe, J.T., Fundamental Research Statistics for the
 Behavioural Sciences (1975 2d ed.); Carmen R. Wilson VanVoorhis
 & Betsy L. Morgan, Understanding Power and Rules of Thumb for
 Determining Sample Sizes, 3 Tutorials in Quantitative Methods
 for Psych. 43, 50 (2007). And it is certainly not so small a
 sample size that Report-1 can be pushed aside at this stage, on
 the theory that it is entirely unreliable. See generally Wood,
 572 U.S. at 755 n.5 (“[i]n ruling on a motion to dismiss, . . .
 courts ‘must take all of the factual allegations in the
 complaint as true’”) (quoting Iqbal, 556 U.S. at 678). 29

 28 Another short seller report, quoted in the Complaint,
 suggests that the Company offered 1,752 classes in the first
 quarter of 2020. See Citron Research April 14, 2020 Report
 (“Report-2”) at 12. That implies Report-1 sampled around 11.4%
 of all of the Company’s classes.

 29 In a related vein: was the sample a random one? The
 Plaintiffs say so, see Complaint at ¶ 40, but it is not clear
 why --- Report-1 does not itself say it was based on a
 randomized sample. Rather, Report-1 explains that the sample
 that it analyzed was equally divided between two of the
 Company’s platforms, and that the Company classes that were
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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 30 of 55 PageID:
                                    3123


 Moreover, even if the sample size was somewhat on the small side
 --- that would mainly have the effect of widening the margin for
 error and pushing down on the confidence level. See, e.g.,
 Sergey Dorofeev & Peter Grant, Statistics for Real Life Sample
 Surveys, 3-5 (2006); Howard F. Stetter, Statistical Sampling
 Techniques, 918, 921-22 (1962).
 But that is unlikely to make a bottom-line difference here.
 Report-1 concludes that 70% of the Company’s students were bots.
 See Complaint ¶ 37. Even if this were off by 10% or 20%, or
 even by half --- the number of bots would still be very large,
 and certainly large enough to be material. Cf. In re Adams
 Golf, Inc. Sec. Litig., 381 F.3d 267, 275 (3d Cir. 2004)
 (holding that a misstatement that effected around 2% of golf
 clubs sold over the course of one quarter was not immaterial as
 a matter of law); Ganino v. Citizens Utils. Co., 228 F.3d 154,
 163, 166 (2d Cir. 2000) (holding that a misstatement of after-
 tax income by 11.9% was sufficiently material); Litwin v.
 Blackstone Grp., L.P., 634 F.3d 706, 722 (2d Cir. 2011) (holding
 a misstatement about potentially adverse trends that could
 impact 22.6% of total assets was sufficiently material); cf. SEC
 Staff Accounting Bulletin No.99, 64 Fed. Reg. 45150, 45151-2
 (1999) (noting that while as a general “rule of thumb” a
 financial misstatement of less than 5% is not material, the
 Financial Accounting Standards Board believes “there are
 numerous circumstances in which misstatements below 5% could
 well be material”). 30


 analyzed spanned various different grade levels and subject
 matters. See Report-1 at 14. This suggests the possibility of
 some degree of randomized sampling, though how much is unclear.
 But for now, there is no need to dwell on this point. The
 Defendants make no argument as to randomization. Rather, they
 make a one sentence point: “[the author of Report-1] did not
 explain how it selected classes for its survey or provide
 sufficient information to enable the reader to assess whether
 its sample was representative.” Motion to Dismiss at 31-32.
 But Report-1 does say how it selected its classes, as noted just
 above in this note. And the undeveloped reference to a
 “representative” sample is not enough to suggest Report-1 is not
 randomized enough to rely on at this stage.
 30 The Defendants also press other arguments as to why Report-1
 should not be considered. Their strongest one is that some of
 those enrolled in Company classes should not have been
 categorized as bots on the basis of their being linked to a user
 that exhibited bot-like behavior, either by (1) “join[ing] class
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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 31 of 55 PageID:
                                    3124


             3.   Conclusion

 The Complaint contains ample allegations that a very large
 percentage of the Company’s enrolled students were, in fact,
 bots --- such that the Company’s publicly-announced student
 enrollment numbers were not only false, but materially so. 31

       B.    Revenue

 Turn, now, to another set of allegedly false statements --- as
 to the revenue earned by the Company (“Revenue Statements”).
 The Revenue Statements were also made in 2019 and 2020.
 From 2019, the Revenue Statements were made in initial public
 offering materials (see Complaint ¶¶ 198-199); in Securities and
 Exchange Commission filings (see id. at ¶¶ 202-05, 212-15, 222-

 at the exact same moment” as the bot-like user, or (2)
 “shar[ing] the same distinct [internet protocol] address” as the
 bot-like user. Motion to Dismiss at 30, 32.    But the
 Plaintiffs’ counter-argument, rooted in their expert’s report,
 see Complaint ¶ 36, is certainly plausible enough. As to (1):
 perfectly synchronized logins, down to the second, by multiple
 devices are unlikely to occur frequently by coincidence. And as
 to (2): phones that are used by a bot once are likely to be bot-
 controlled in the future. See Brief in Opposition at 26 n.7;
 Lutz v. Portfolio Recovery Assocs., LLC, 49 F.4th 323, 334 (3d
 Cir. 2022) (“pleading[s] receive[] the benefit of reasonable
 inferences at the motion-to-dismiss stage”); Bagic v. Univ. of
 Pittsburgh, 773 F. App’x 84, 88-89 (3d Cir. 2019) (“[w]hen
 considering a motion to dismiss, a district court cannot weigh
 competing inferences and forgo drawing a reasonable one in the
 plaintiff’s favor”).

 31 At one point, the Defendants contend there was no actionable
 misrepresentation here, because the Company disclosed that rogue
 employees might engage in brushing or fraud. See Motion to
 Dismiss at 21-22; see generally In re Aetna, Inc. Sec. Litig.,
 617 F.3d 272, 282 (3d Cir. 2010) (“cautionary language, if
 sufficient, renders the alleged omissions or misrepresentations
 immaterial as a matter of law”). But the allegations here are
 of widespread, systematic, and intentional use of bots to
 increase the Company’s student enrollment figures. This is a
 long way from what is conveyed by a disclosure as to a generic
 internal controls risk, and even one that spotlights rogue
 employees.


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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 32 of 55 PageID:
                                    3125


 23); and orally by the CEO and the CFO during earnings calls
 (see id. at ¶¶ 206-09, 218-21).
 The Revenue Statements from 2020 were in: Securities and
 Exchange Commission filings (see id. at ¶¶ 226-233, 247-250,
 263-66, 275-278); Company press releases (see id. at ¶¶ 261-62,
 269-72); oral statements from the CEO and the CFO during
 earnings calls (see id. at ¶¶ 241-44); and oral statements by
 the CEO and CFO in other public contexts (see id. at ¶¶ 253-60).
 According to the Complaint, the Revenue Statements were false,
 and materially so. See, e.g., id. at ¶¶ 203, 248, 264, 272.
 The Defendants argue the revenue misstatements are not properly
 pled. See Motion to Dismiss at 35, 37-39.
 The Court disagrees, and concludes they were.
 As noted above, there are ample allegations of systematic
 efforts by the Company to use bots to greatly inflate the number
 of enrolled students in Company classes. See Part III.A.
 And it stands to reason that the Company’s revenues are a
 function of the number of students it enrolls. 32
 Because of this, there is a strong inference that all-but
 inescapably runs from (a) allegedly systematic and large
 overstatements of student enrollment numbers to (b)
 overstatements of revenue numbers.
 That inference is propped up here by allegations from CW-2, a
 Beijing-based engineering manager for the Company, see Complaint
 ¶ 67, that bot enrollments were reported by the Company as
 revenue. See id. at ¶ 72.
 In addition, the Complaint contains allegations from another
 third-party report (“Report-2”). See id. at ¶¶ 96-100. Report-
 2’s authors bought and enrolled in Company classes, see Report 2
 at 11; tracked the comments in the classes, see id. at 12; and
 discerned that the classes seemed to have very few actual
 students, see id. at 12, 27-28 --- too few to generate the
 revenue numbers publicly reported by the Company, see id. at
 13. 33

 32 And there are, in any event, specific allegations to that
 effect. See Complaint ¶¶ 27-32.
 33 The Defendants say Report-2 is a short seller report. See
 Motion to Dismiss at 8. As noted above, some courts mark down
 the value of such reports. See Part III.A.2. But no discount
 is warranted here. First, Report-2 is detailed --- mustering
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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 33 of 55 PageID:
                                    3126


 How to explain the discrepancy?
 That is where CW-2’s allegations come in. Bot enrollments, per
 CW-2, were allegedly being counted as Company revenue. And that
 helps to explain what Report-2 documented: revenues that were
 too high given the apparent numbers of real, human student
 enrollments.
 Bottom line: the Complaint lays out more-than-sufficient
 allegations that the Revenue Statements are actionable.
 The Revenue Statements were false, because they allegedly
 reflected “revenue” that was not, in fact, bona fide revenue. 34


 highly specific information about those classes that were
 tracked, see Report-2 at 23-26, per-class revenue calculations,
 see id. at 13, and information from actual Company revenue
 reports, see id. at 3, 9, 13. Second, Report-2 is predicated on
 sufficiently solid sources --- allegedly direct observations,
 gleaned from enrolling in Company classes and from working to
 identify the bona fide students in them. See id. at 23-26. And
 third, Report-2’s conclusion that there were few real students
 in the relevant classes is well-corroborated, by extensive
 allegations from the various confidential witness that many of
 the Company’s students were in fact bots. See Part III.A.

 34 For sources explaining why the Company’s paying third parties
 to generate revenue could not count as Company revenue, see, for
 example, J. Randolph Mallek, et al., Revenue Recognition:
 Fundamental Principles, Bloomberg Tax & Acct. Portfolio 5100-
 2nd; Raj Gnanarajah, Cong. Rsch. Serv., R43811, Cash Versus
 Accrual Basis of Accounting: An Introduction, 19 (2014). The
 Complaint’s allegations suggest the Company was engaging in a
 practice closely adjacent to round-tripping. See generally
 Gould v. Winstar Comm’cn, 692 F.3d 148, 155 (2d Cir. 2012)
 (“‘[r]ound-tripping’ typically refers to reciprocal agreements,
 involving the same products or services, that lack economic
 substance but permit [both] parties to book revenue and improve
 their financial statements” and is a way companies may
 misrepresent their revenue); Tchrs. Ret. Sys. of LA v. Hunter,
 477 F.3d 162, 178 (4th Cir. 2007) (round trip transactions are
 “improper because the parties book revenues even though the
 transactions ‘wash out’ without any economic substance”); see
 also Suprema, 438 F.3d at 265 (round-trip sales scheme led to a
 misrepresentation of a large portion of the company’s revenue).
 But whether the revenue inflation here is or is not best
 understood as akin to round-tripping, there is no doubt that
 allegedly fraudulent practices to materially inflate revenues
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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 34 of 55 PageID:
                                    3127


 Were the alleged misstatements material?
 The Court’s conclusion: yes.
 The very large scale of the Company’s alleged misrepresentations
 as to student enrollments virtually guarantees material
 misstatements as to revenue numbers. This is because the latter
 were based on the former.
 And more directly: Report-2 concludes that Company revenue was
 misstated by up to 70%, and it does so based on a methodology
 that, at least at this stage, is sensible enough. See Report-2
 at 13.
 Against the conclusion that the Revenue Statements were
 materially misstated, the Defendants offer two main
 counterarguments.
 First, they suggest that fake student enrollments did not lead
 to inflation of revenue data. See Motion to Dismiss at 36-39.
 What, then, were all of the alleged bots for? The theory would
 seem to be that bots made Company classes feel busy and vibrant.
 That was their purposes, not to send enrollment fees back to the
 Company. 35
 But this argument is, among other things, directly contradicted
 by the allegations from CW-2 set out just above. See Complaint
 ¶ 72 (“GSX reported these enrollments as ‘revenues’”). And
 “[i]n ruling on a motion to dismiss . . . courts ‘must take all
 of the factual allegations in the complaint as true.’” Wood,
 572 U.S. at 755 n.5 (quoting Iqbal, 556 U.S. at 678).




 are potentially actionable under the Exchange Act of 1934. See
 generally In re Cabletron Sys., Inc., 311 F.3d at 24 (fraudulent
 practices to inflate revenue, such as reporting false sales,
 leading to improperly recognizing revenue of between $20-30
 million per quarter “certainty add up to fraudulent and material
 misstatements”); Aviva Partners LLC v. Exide Tech., 2007 WL
 789083, at *16 (D.N.J. Mar. 13, 2007) (“Published earnings
 figures that are allegedly false or misleading are the types of
 statements actionable under Section 10(b) and Rule 10b–5.”); see
 also In re Cognizant Tech. Sols. Corp. Sec. Litig., 2018 WL
 3772675, at *22 (D.N.J. Aug. 8, 2018).

 35 It is not crystal clear that the Defendants are indeed making
 this argument, see id. at 36-37, but the Court proceeds as if
 they do.
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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 35 of 55 PageID:
                                    3128


 Second, the Defendants contend that Report-2 is not reliable,
 because, among other things, it was based on a too-small sample
 size. See Motion to Dismiss at 38 n.20.
 But this is not persuasive. Report-2 is based on the Report’s
 authors buying seats in over 20% of the Company classes offered
 during a particular time period. See Report-2 at 12. This is
 not too small a sample size to reason from. See Part III.A.2.

       C.    Spring 2020 Statements

 Look now to a final set of allegedly false statements, said to
 have been made by the Company and by Company leaders in April,
 May, and June of 2020 (“Spring 2020 Statements”).
 Consider these one at a time.
 First, on June 3, the Company denied certain allegations
 contained in a “short seller” report. See Complaint ¶ 273.
 The Defendants contend this denial was not alleged in a
 sufficiently specific way, see Motion to Dismiss at 40 n.22, and
 this Court (per Judge Salas) previously so held. See Wu, 2023
 WL 2207422, at *11.
 “[W]hen a court decides upon a rule of law, that decision should
 continue to govern the same issues in subsequent stages in the
 same case.” Bailey v. Viacom Inc., 435 F. App'x 85, 91 (3d Cir.
 2011) (citing Arizona v. California, 460 U.S. 605, 618 (1983))
 (cleaned up).
 That is this case. Judge Salas “decide[d]” that the June 3
 alleged misstatement was not pled with sufficient particularity.
 And that is controlling here, because the Plaintiffs, given the
 opportunity to re-plead, have not added any new allegations.
 Second, on April 8, 2020 the Company CEO allegedly said: “I
 think if [the author of Report-1] analyses our data seriously,
 there is a high probability that [they] will not be so stupid.
 The level and IQ of the [Report-1 author] is quite high.” See
 Complaint ¶ 253.
 But as pled, this statement is too indefinite to go on.
 “Data,” for example, might be a reference to information about
 student enrollments and revenues. But “data” might also be
 something else entirely --- the various reports here contain
 information about subjects other than enrollments and revenues. 36

 36 For example, Report-3 said that the Company was not doing as
 well as its competitors, that its teachers were inexperienced,
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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 36 of 55 PageID:
                                    3129


 And saying that there is a “high probability” that someone else
 will “not be so stupid” if they do a “serious[]” analysis is,
 more than anything, hard to understand --- let alone to take as
 a backwards-looking endorsement of the accuracy of Company
 enrollment and revenue numbers.
 Third, on April 9, 2020 the CEO and CFO allegedly held a
 teleconference with investors. See Complaint ¶ 255. During
 this teleconference, they made a number of statements. See id.
 at ¶¶ 255-59. To the extent those alleged statements included
 specific assertions about Company enrollment or revenue data,
 those statements are actionable here. They are particular. And
 the Court has already discussed the various allegations that
 suggest Company enrollment and revenue information were
 materially defective. See Part III.A.; Part III.B.
 Fourth, on April 15, 2020 the Company allegedly issued a press
 release that said it “firmly denied the false and ungrounded
 allegations raised in [Report-2].” Complaint ¶ 261.
 The allegation that the Company’s revenue was inflated by 70% is
 the dominant allegation in Report-2. See Report 2 at 1, 8, 10-
 20, 23-33. 37
 “[F]irmly den[ying]” that was a misstatement. See Part III.B.
 (holding that the allegations the Company was inflating revenue
 were adequately pled).
 And it was a material misstatement, too --- it would have had
 the effect of lulling investors into thinking there was nothing
 to see in Report-2, and that they should move on. See Avaya,
 564 F.3d at 247-48 (holding misstatements are actionable,
 including from CFO in the face of questioning, about company
 being “on track” to meet financial goals when it was not); In re
 Pareteum Sec. Litig., 2021 WL 3540779, at *8-9, *11 n.2
 (S.D.N.Y. Aug. 11, 2021) (holding misstatements actionable,
 including a denial of short seller reports); In re Signet
 Jewelers Ltd. Sec. Litig., 389 F. Supp. 3d 221, 231 (S.D.N.Y.
 June 11, 2019) (holding misstatements actionable when “[i]n the
 face” of allegations of “rampant sexual harassment . . .


 that the Company’s founders were planning their exits, that
 shareholders were selling their stock, and that management’s
 background presented a risk to the Company. See Report-3 at 28,
 41, 47, 50, 52.

 37 Other portions of Report-2 focused on how the Company’s
 growth was “too good to be true” and briefly address fake
 students in Company classes. See id. at 2-10, 21-22.
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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 37 of 55 PageID:
                                    3130


 Defendants sought to reassure the investing public that Signet
 did not, in fact, have a toxic workplace. They did so by
 including representations in their periodic SEC filings that the
 company expressly ‘denies the allegations.’ . . . As alleged,
 their word was not truthful.”) (cleaned up); City of Brockton
 Ret. Sys. v. CVS Caremark Corp., 2013 WL 6841927, at *1-4
 (D.R.I. Dec. 30, 2013) (statement “denying that the company had
 lowered prices for some of its . . . customers ‘because of a
 lack of service,’ or that the company had ‘an issue with its
 computer systems’” were misrepresentations when the allegations
 demonstrated the company had problems with service and the
 integration of its systems).
 Fifth, on May 19, 2020 the Company issued a press release that
 “refuted” Report-1. See Complaint ¶ 269.
 Sixth, on May 29, 2020 the Company issued a press release that
 “refuted” a follow-up to Report-1, and that provided further
 support for Report-1’s conclusion. See id. at ¶ 271.
 The allegation that the Company was using bots to inflate
 enrollment numbers is the dominant allegation in Report-1. See
 Report-1 at 2-14, 17-25. In light of the Court’s conclusion as
 to Company bot usage in Part III.A, these two “refut[ations]”
 are actionable.
       D.    Conclusion
 The Complaint is laced with strong-enough allegations that
 Company enrollment and revenue numbers were systematically and
 materially inflated. See Part III.A, III.B.
 Given this, the Plaintiffs have properly pled that the
 Enrollment Statements, see Part III.A, and the Revenue
 Statements, see Part III.B, were materially false, and that some
 of the Spring 2020 Statements were, too. See Part III.C.

 IV.   Scienter

 As to the actionable statements here, see Part III.D, were these
 made with scienter, as the law requires?
 To answer this scienter question, the allegations must be
 considered on a “holistic[]” basis, Tellabs, Inc., 551 U.S. at
 326, looking to the full body of information in the Complaint.
 See also Avaya, 564 F.3d at 267-68 (“The pertinent question is
 whether all of the facts alleged, taken collectively, give rise
 to a strong inference of scienter, not whether any individual
 allegation, scrutinized in isolation, meets that standard.”)
 (cleaned up) (emphasis added); Hacker, 687 F. Supp. 3d. at 589.

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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 38 of 55 PageID:
                                    3131


 The Court undertakes that analysis below, and concludes that
 when the allegations the Plaintiffs added to the current version
 of the complaint are considered --- the scienter inference is
 strong enough, and markedly more persuasive than any competing
 inference.
 The stepping-off point for this analysis is a description of the
 legal standards that govern, set out in Part IV.A and Part IV.B.
 The analysis then gets underway in Part IV.C.

       A.    General Legal Standards

 For a Section 10(b) claim, the “required state of mind is
 scienter --- the intent to deceive, manipulate, or defraud
 either knowingly or recklessly.” Pamcah-UA Loc. 675 Pension
 Fund v. BT Grp. PLC, 2021 WL 3415060, at *1 (3d Cir. Aug. 5,
 2021); see also Hacker, 687 F. Supp. 3d. at 588; see generally
 Ernst & Ernst v. Hochfelder, 425 U.S. 185 (1976).
 Here, the argument is that the Defendants were reckless.              See
 Brief in Opposition at 9.
 Recklessness is “not merely simple, or even inexcusable
 negligence, but an extreme departure from the standards of
 ordinary care[.]” Avaya, 564 F.3d at 267 n.42 (cleaned up); see
 also Hacker, 687 F. Supp. 3d. at 589.
 Because scienter is a state of mind, it must often be
 established indirectly. It has to be “inferred.” See Hacker,
 687 F. Supp. 3d. at 589.
 To be legally sufficient, an inference of scienter must be
 “strong.” 15 U.S.C. § 78u-4(b)(2)(A). “A complaint adequately
 pleads a strong inference of scienter ‘only if a reasonable
 person would deem the inference of scienter cogent and at least
 as compelling as any opposing inference one could draw from the
 facts alleged.’” In re Hertz Glob. Holdings Inc, 905 F.3d 106,
 114 (3d Cir. 2018) (quoting Tellabs, 551 U.S. at 324).   The
 standard is demanding. It “is not easy to allege.” Pamcah-UA
 Loc. 675 Pension Fund, 2021 WL 3415060, at *1; see also Hacker,
 687 F. Supp. 3d. at 589.

       B.    Pleading Scienter: Three Questions

 What a plaintiff needs to adequately allege is scienter.
 But how does a court go about discerning whether the scienter
 bar has been cleared in a given case?
 To begin answering that question, first take a step back.


                                     38
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 39 of 55 PageID:
                                    3132


 The named defendants in many securities fraud cases include a
 company’s senior executives. There are many reasons why. Among
 them: senior executives are the people who are generally
 authorized to speak publicly for the company, and it is
 allegedly false public statements about a company that are at
 the core of securities law prohibitions.
 But it can be difficult to determine whether a senior executive
 has scienter.
 One reason, especially in the context of larger companies, is
 that senior executives are senior. They exercise a relatively
 wide span of control, almost by definition. And this can make
 it difficult at the motion to dismiss stage, before there has
 been discovery, to sort between senior executives who had
 scienter and those that did not.
 A CEO may have said something false --- but without knowing it
 was false. Perhaps because accurate information on that
 particular topic did not squeak its way through the dense crush
 of the CEO’s focus on a large number of other pressing concerns.
 Or perhaps because accurate information simply failed to
 percolate its way up through what may be a sprawling company
 hierarchy.
 Or on the other hand, the CEO may have said something false ---
 and did know it. Because, for example, it was about a subject
 the CEO was laser-focused on --- a subject that the CEO
 prioritized even beyond other competing concerns and as to which
 the CEO was especially knowledgeable, requiring frequent and
 extensive updates from all corners and levels of the
 organization.
 These are stylized possibilities. But they underscore the
 difficulty of making an accurate assessment of whether there is
 a strong inference of scienter at the motion to dismiss stage,
 before the peek behind the curtain that discovery allows.
 To address this difficulty, federal law focuses on a set of
 questions that can help distinguish between instances in which
 an allegedly false statement was made with scienter and
 instances in which it was not.
 Three of those questions follow. 38



 38 These three questions are just introduced here. The fuller
 substance of them is discussed more fully below, in Parts
 IV.C.1, Parts IV.C.2, and Parts IV.C.3.
                                     39
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 40 of 55 PageID:
                                    3133


 First, was the issue as to which the statement was made
 especially important to the Company?
 This question is often discussed in terms of the “core
 operations” doctrine. See, e.g., Avaya, 564 F.3d at 269, 272;
 Rahman, 736 F.3d at 246; S. Ferry LP, No.2 v. Killinger, 542
 F.3d 776, 784-85 (9th Cir. 2008), or in terms of the sheer scale
 of the issue. See, e.g., Matrix Cap. Mgmt. Fund, LP v.
 BearingPoint, Inc., 576 F.3d 172, 184 (4th Cir. 2009); Garfield
 v. NDC Health Corp., 466 F.3d 1255, 1267-68 (11th Cir. 2006);
 Adams v. Kinder-Morgan, Inc., 340 F.3d 1083, 1106 (10th Cir.
 2003); Rocker Mgmt., L.L.C. v. Lernout & Hauspie Speech Prod.
 N.V., 2005 WL 1366025, at *8 (D.N.J. June 8, 2005); P.
 Schoenfeld Asset Mgmt. LLC v. Cedant Corp., 142 F. Supp. 2d 589,
 609 (D.N.J. 2001).
 Second, was the issue as to which the statement was made
 especially important to the particular senior executive whose
 alleged scienter is in play?
 And third, was there something that would have helped to cut
 through the noise --- to pique the executive’s focus on the
 statement by suggesting a real possibility that it was false?
 This question is often discussed in terms of the metaphor of
 “red flags.” See, e.g., Doshi v. Gen. Cable Corp., 823 F.3d
 1032, 1039 (6th Cir. 2016); City of Taylor Gen. Emps. Ret. Sys.
 v. Astec Indus., Inc., 29 F. 4th 802, 813-14 (6th Cir. 2022);
 Novak v. Kasaks, 216 F.3d 300, 308 (2d Cir. 2000).
 “Yes” answers to these three questions can help to support the
 conclusion that a false statement was made with scienter.
 These questions are taken up below, in reverse order.

       C.    Analysis of the Three Questions

 Before getting to the analysis, a final preliminary matter.
 The Defendants do not seek to differentiate between the scienter
 of the parties. They speak of scienter as a whole, and do not
 address the possibility that the scienter of certain Defendants
 might be on a different footing than others’. See Motion to
 Dismiss at 11-17.
 This approach may well make sense.
 On the allegations here, the scienter of the Company CEO and the
 Company CFO (two of the Defendants) would likely be imputed to
 the Company (the third Defendant). See In re ChinaCast Educ.
 Corp. Sec. Litig., 809 F.3d 471, 476 (9th Cir. 2015); Makor

                                     40
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 41 of 55 PageID:
                                    3134


 Issues & Rights, Ltd. v. Tellabs, Inc., 513 F.3d 702, 707-08
 (7th Cir. 2008); Adams, 340 F.3d at 1106–07. So trying to tease
 apart CEO/CFO scienter from Company scienter might not have been
 worth the candle for the Defendants.
 And in a similar vein, the allegations as to the CEO’s scienter
 and the CFO’s scienter are largely baked together in this case.
 See Complaint ¶ 206 (CEO and CFO together presenting second
 quarter 2019 financial results on August 2019 earnings call);
 id. at ¶ 218 (CEO and CFO together presenting third quarter 2019
 financial results on November 2019 earnings call); id. at ¶ 255
 (CEO and CFO jointly held teleconference to address “market
 concerns” on April 9, 2020).
 Trying now to separate out the ingredients --- by arguing, for
 example, that the CEO had scienter but the CFO did not --- is
 hard to make work.
 But one way or another, the bottom line is the same: the
 Defendants do not seek to differentiate between the scienter of
 one Defendant and the scienter of another.
 The Court will follow the Defendants’ lead.
 The Defendants “know what is best for them,” and deciding what
 arguments to “advance,” is fundamentally their call. United
 States v. Sineneng-Smith, 590 U.S. 371, 375-76 (2020) (cleaned
 up); see also, e.g., United States v. Samuels, 808 F.2d 1298,
 1301 (8th Cir. 1987) (R. Arnold, J., concurring in denial of
 rehearing en banc).
 Accordingly, the Court proceeds here on the assumption that the
 allegations in the Complaint that support or do not support
 scienter should be applied across-the-board --- to assess the
 alleged mental state of each of the three Defendants, for all
 the misstatements.
 With that preliminary note out of the way, begin the analysis,
 with a look at each of the three questions described in Part
 IV.B, starting with the last one, which is often discussed using
 the “red flags” metaphor.

             1.   Red Flags

                  a)    In General

 Red flags can come in different types.         Two are relevant here.
 A first type of red flag: allegations that a person has been
 directly presented with information that suggests a strong


                                     41
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 42 of 55 PageID:
                                    3135


 possibility that a statement the person later makes is
 materially false or misleading. 39
 A second sort of red flag is both less direct and less telling.
 This type of red flag is “a signal of possible danger around the
 curve.” Hacker, 687 F. Supp. 3d at 591. It provides a reason
 to investigate further before making a statement, to “perceive[]

 39 See, e.g., Matrixx Initiatives, Inc. v. Siracusano, 563 U.S.
 27, 49 (2011) (scienter when company made certain statements
 after receiving direct reports as to adverse drug effects that
 tended to suggest that the statements might not be accurate);
 Avaya, 564 F.3d at 268-69 (scienter allegations would have been
 “foritif[ied]” by allegations of a “particular document or
 conversation that would have informed” relevant people that
 certain statements they made may not have been accurate);
 Martin, 757 F. App’x at 154 (no scienter, and noting that “[t]he
 complaint contains no allegations that [relevant people] . . .
 knew that GNC's DMAA-replacement products may have contained
 ingredients banned by the FDA, or that they received any report
 that banned substances may be included in replacement
 supplements”); Astec Indus., Inc., 29 F. 4th at 813-14 (holding
 that scienter was adequately alleged when statements of the CEO
 were “contradict[ed] [by] internal reports” and that the court
 “need not view” his optimistic statements as “mere ignorance”);
 City of Dearborn Heights Act 345 Police & Fire Ret. Sys. v.
 Align Tech., Inc., 856 F.3d 605, 620 (9th Cir.
 2017) (“particularized allegations that defendants had ‘actual
 access to the disputed information’ may raise a strong inference
 of scienter”); Elam v. Neidorff, 544 F.3d 921, 929 (8th Cir.
 2008) (“allegations that a defendant made materially misleading
 statements, while in possession of conflicting information,
 support a strong inference of scienter”); Teamster Local 445
 Freight Div. Pension Fund v. Dynex Cap. Inc., 531 F.3d 190, 196
 (2d Cir. 2008) (noting “knowledge of access to information” that
 suggests public statements were inaccurate supports scienter);
 cf. BT Grp. PLC, 2021 WL 3415060, at *2 (suggesting that
 scienter allegations might have been on different footing if a
 particular telling email had actually been received by the
 defendants); OFI Asset Mgmt., 834 F.3d at 499 (noting, in the
 securities fraud context, the highly limited inferences that can
 be drawn from a needle in a haystack --- “a single phrase buried
 within a filing that encompassed dozens of pages”). Note that
 the force of the inference of scienter may depend, in part, on
 how much time elapsed between getting the information and making
 the statement. See Avaya, 564 F.3d at 271-72; Doshi, 823 F.3d
 at 1039.
                                     42
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 43 of 55 PageID:
                                    3136


 possible trouble ahead, and slow[] down.” Id. It can be
 reckless within the meaning of the securities laws to ignore
 this sort of red flag, especially when it is “bright,” because
 what is conveys is unmistakable, and “big,” because it relates
 to something especially important. Id.
 For an auditor, missing paperwork might be a red flag of this
 kind, pushing the auditor to study a company’s financial records
 that much more deeply. See Suprema, 438 F.3d at 280.
 For company management, being directly exposed to certain sorts
 of questions and concerns can sometimes be a red flag of this
 sort --- even if the executive in question does not have direct
 evidence that the questions and concerns are well-founded.
 In Avaya, for example, the Third Circuit determined that a
 “strong inference” of scienter had been established in part
 because “specific” and “focused” questions from market analysts
 about a major issue were put “directly and repeatedly” to a
 company executive --- who then answered the questions without
 any hedge. Avaya, 564 F.3d at 269-70.
 And Avaya does not stand alone. See also Rahman 736 F.3d at
 246; In re Fibrogen, Inc., 2022 WL 2793032, at *24 (N.D. Cal.
 July 15, 2022); In re Qualcomm Inc. Sec. Litig., 2019 WL
 1239301, at *11 (S.D. Cal. Mar. 18, 2019); Roofer’s Pension Fund
 v. Papa, 2018 WL 3601229, at *21-22 (D.N.J. July 27, 2018); KBC
 Asset Mgmt. NV v. 3D Sys. Corp., 2016 WL 3981236, at *5, *9, *11
 (D.S.C. July 25, 2016); In re Urban Outfitters, Inc. Sec.
 Litig., 103 F. Supp. 3d 635, 653-54 (E.D. Pa. 2015).
 Bottom line: sharp, detailed, and recurring questions that
 challenge the company’s position on important matters can
 strongly bear on scienter.
 Why? Because it stands to reason that such questions can
 ordinarily be expected to be a goad to further inquiry. And if
 after being pushed by such questions, a person nonetheless
 provides false information, a possible inference is that the
 person (a) did not investigate before providing the false
 information (which might establish recklessness) or (b)
 investigated, determined the truth, but made a false statement
 anyway (which might establish intent).

                  b)    In This Case

 Pivot back now, from the legal principles sketched out just
 above, to this case --- and note that there were red flags here
 of both the first and second kinds.


                                     43
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 44 of 55 PageID:
                                    3137


 As to the first sort of red flag, there are five relevant
 reports. See Complaint ¶ 253, 255, 259, 261, 269, 271, 273.
 Each of these five reports claimed the Company’s revenue numbers
 and enrollment numbers were greatly overstated. See id. at ¶¶
 272, 274. Some of the reports were very detailed. See Report-
 1; Report-2.
 In turn, there are ample allegations that Company leaders,
 including the CEO and CFO, were directly aware of some of the
 reports. See id. at ¶¶ 253, 255, 259. (There is some
 likelihood that other reports were seen by the CEO and CFO, too.
 See id. at ¶¶ 261, 269, 271. And there is an allegation that an
 additional report was directly seen by the CEO. See id. at ¶
 330.)
 Indeed, the Company CEO and the Company CFO, and the Company
 through its press releases, directly commented on the reports,
 see id. ¶¶ 261, 269, 271, 273 --- and allegedly expressed the
 sorts of opinions about the reports that can only be based on
 reviewing them. See id. at ¶¶ 269, 271, 273.
 Bottom line: the Defendants made statements, the gist of which
 were that no systematic revenue or student enrollment inflation
 was taking place, see Part III.A, III.B --- even though they had
 been provided with detailed information that directly suggested
 precisely the opposite conclusion.
 This is a firm basis from which to infer scienter.
 And that inference is buttressed, at least to an extent, by red
 flags here of the second sort. The Complaint lays out
 allegations that suggest the CEO and the CFO were aware of
 questions related to the possibility that there were enrollment
 and revenue troubles. For example, the CEO and CFO held a
 conference call to “address market concerns” after a report was
 released that contained allegations of false enrollment numbers
 and revenue. See Complaint ¶ 255. And to cite another example:
 the Company responded to questions regarding its “customer
 acquisition strategy” in February 2020. Id. at ¶ 245.
 In the face of this, there is an inference –-- though not the
 strongest one --- the CEO and CFO either followed-up internally
 and inquired (in which case they should have been aware of what
 was allegedly afoot) or they did not (in which case they were
 acting in a reckless manner).

             2.   Position in the Company

 Aside from a focus on red flags, courts routinely look to a
 person’s position in a given company to determine whether the

                                     44
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 45 of 55 PageID:
                                    3138


 person’s statements were made with scienter.           See generally Part
 IV.B.
 This is the approach in the Third Circuit. See e.g., Avaya, 564
 F.3d at 271; In re PTC Therapeutics, Inc. Sec. Litig., 2017 WL
 3705801, at *17 (D.N.J. Aug. 28, 2017). And throughout the
 United States. See, e.g., E. Ohman J:or Fonder AB v. NVIDIA
 Corp., 81 F.4th 918, 946 (9th Cir. 2023), cert. granted sub nom.
 Nvidia Corp. v. Ohman J, No. 23-970, 2024 WL 3014476 (U.S. June
 17, 2024); Okla. Firefighters Pension & Ret. Sys. v. Six Flags
 Ent. Corp., 58 F.4th 195, 219 (5th Cir. 2023); Constr. Indus. &
 Laborers Joint Pension Tr. v. Carbonite, Inc., 22 F.4th 1, 9-10
 (1st Cir. 2021); In re VeriFone Holdings, Inc. Sec. Litig., 704
 F.3d 694, 704, 710 (9th Cir. 2012); Dorsey v. Portfolio
 Equities, Inc., 540 F.3d 333, 342 (5th Cir. 2008); In re Stone &
 Webster, Inc., Sec. Litig., 414 F.3d 187, 211 (1st Cir. 2005);
 Nursing Home Pension Fund, Local 144 v. Oracle Corp., 380 F.3d
 1226, 1234 (9th Cir. 2004); Adams, 340 F.3d at 1106.
 This approach makes sense.
 Imagine an executive at a car manufacturer who falsely describes
 a new model’s attributes --- the stopping power of its brakes,
 for example, or its turning radius and safety features. It
 stands to reason that such a false description is more likely to
 have been offered with scienter by the company engineer (who
 probably knows a great deal about brakes, etc.) than by the
 company’s controller (who likely knows less about a given car’s
 performance specs). Cf. In re VeriFone Holdings, Inc. Sec.
 Litig., 704 F.3d at 704, 710; In re Stone & Webster, Inc., Sec.
 Litig., 414 F.3d at 211.
 What of the statements as to revenue and student enrollment?
 Were they within the Defendants’ workplace bailiwick?
 The Court’s conclusion: yes.
 As for publicly-reported revenue numbers, that was plainly
 within the CFO’s job description. See Avaya, 564 F.3d at 271.
 And there are ample allegations in the Complaint that the CEO
 and the CFO were both focused on revenue numbers. See Complaint
 ¶¶ 300-01, 313-14.
 As for student enrollments, more of the same: there are
 sufficient allegations that the CEO and the CFO were zeroed-in
 on them. See id. at ¶¶ 302, 304, 306; cf. id. at ¶ 316.
 To be sure, the allegations alluded to in the preceding two
 paragraphs are associated with three confidential witnesses.



                                     45
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 46 of 55 PageID:
                                    3139


 But those allegations do not need much discounting. See
 generally Part III.A.1.a (describing caselaw in this area).
 They are granular. See, e.g., Complaint ¶ 300 (“[the CFO] was
 responsible for knowing how much the company was spending on
 marketing, and specifically responsible for knowing and
 understanding the individual line items that made up the
 marketing budget”); id. at ¶ 306 (“CW-9’s team developed a
 dashboard for senior executives, which they called the ‘boss
 dashboard.’ It included flow of products, number and analysis of
 students, teacher evaluations, and class arrangements.”).
 They are, in large part, based on close-in workplace sources.
 One of the confidential witnesses was allegedly the CFO’s direct
 report for part of her time at the Company. See id. at ¶ 299.
 Another allegedly spoke to the CEO directly. See id. at ¶ 313.
 Another allegedly spoke to the CEO daily. See id. at ¶ 304.
 And the confidential witness allegations are corroborated. By
 each others’ allegations. By various statements in the
 Complaint that suggest hands-on involvement by the CEO and CFO
 in revenue/enrollment issues. See id. at ¶¶ 259, 323, 325-27,
 329. And by the basic plausibility of what is alleged. There
 is nothing odd or surprising about a CFO (or a CEO) following
 revenue numbers closely, or a CEO (or a CFO) keeping a hawk’s
 eye on the company’s core customer base (enrolled students). 40
 The newly-added allegations described in this Part IV.C.2 add a
 great deal to the mix of allegations in the Complaint, and from
 a “holistic[]” perspective, Tellabs, Inc., 551 U.S. at 326, they
 decidedly strengthen the inference here of scienter --- well

 40 Some limited discounting is necessary. One of the
 confidential witnesses worked for the Company outside of the
 relevant period, and another worked for the company only for a
 short time during the class period. See Complaint ¶¶ 299, 304;
 see generally Wu, 2023 WL 2207422, at *8; Chan v. New Oriental
 Educ. & Tech. Grp. Inc., 2019 WL 2865452, at *10 n.7 (D.N.J.
 July 3, 2019); Schaffer v. Horizon Pharma. PLC, 2018 WL 481883,
 at *8 (S.D.N.Y. Jan. 18, 2018). But while this requires some
 mark down, it does not require much. There is no strong reason
 to think the CEO and CFO’s job responsibilities changed very
 dramatically as between one time or another --- or that, at any
 point, the CEO and CFO were not focused on revenue and student
 enrollments. (The allegations of the fourth confidential
 witnesses, CW-10, are not considered by the Court. There are no
 allegations that CW-10 had any direct interactions with the CEO
 or CFO. Without this, the allegations lack a sufficient
 “source.” See Part III.A.1.a.ii.)
                                     46
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 47 of 55 PageID:
                                    3140


 beyond what was before the Court in the Plaintiffs’ previous
 complaint.

             3.   Importance to the Company

 Finally, in assessing whether scienter has been adequately pled,
 courts frequently look to whether alleged misstatements (a)
 relate to critical parts of a company’s operations or (b) are
 especially large. See Avaya, 564 F.3d at 271; Rahman, 736 F.3d
 at 246; In re Hertz Glob. Holdings Inc., 905 F.3d at 116;
 Carbonite, Inc., 22 F.4th at 9; Local No. 8 IBEW Ret. Plan & Tr.
 v. Vertex Pharmas., Inc., 838 F.3d 76, 82-83 (1st Cir. 2016); In
 re VeriFone Holdings, Inc. Sec. Litig., 704 F.3d at 704, 709;
 N.M. State Inv. Council v. Ernst & Young LLP, 641 F.3d 1089,
 1100 (9th Cir. 2011); BearingPoint, Inc., 576 F.3d at 184;
 Killinger, 542 F.3d at 784-85; Garfield, 466 F.3d at 1267-68;
 Adams, 340 F.3d at 1106; City of Philadelphia v. Fleming Cos.,
 264 F.3d 1245, 1261 (10th Cir. 2001); Hacker, 687 F. Supp. 3d.
 at 599-600; Rocker Mgmt., L.L.C. v. Lernout & Hauspie Speech
 Prod. N.V., 2005 WL 1366025, at *8 (D.N.J. June 8, 2005); P.
 Schoenfeld Asset Mgmt. LLC v. Cedant Corp., 142 F. Supp. 2d 589,
 609 (D.N.J. 2001); In re Medtronic Inc., Sec. Litig., 618 F.
 Supp. 2d 1016, n.19 (D. Minn. 2009).
 The law in this area tracks common sense. Even amidst competing
 pulls on their time and attention, company leaders are more
 likely to be focused on the heart of the venture --- and also on
 any serious, large-scale problems that are eating at the
 company, even if they do not arise in its operational core.
 Moreover, because of the likely importance to investors of
 statements about central corporate matters, company leaders can
 be expected to be especially thoughtful when speaking about
 them. See generally Carbonite, Inc., 22 F.4th at 9-10; Fleming
 Cos., 264 F.3d at 1261.
 Here, there can be little doubt that revenue and student
 enrollment were no backwaters for the Company.
 Revenue is the lifeblood of any for-profit firm. And following
 enrollments was, in essence, an effort to follow the number of
 customers the Company had.
 Revenue and enrollments were, in short, plainly among the
 Company’s most fundamental metrics. And the Company acted like
 it --- tracking those numbers at the highest level, and with
 direct reporting to the CEO and CFO. See Complaint ¶¶ 301, 306,
 315-16.



                                     47
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 48 of 55 PageID:
                                    3141


 Moreover, the alleged “misses” here --- as to revenue numbers,
 for example, that are asserted to have been off by at least
 half, see id. at ¶ 199 --- would have been large enough to get
 and hold the attention of the CEO and CFO. Cf. In re Hertz
 Glob. Holdings Inc, 905 F.3d at 116 (collecting cases that infer
 scienter based on the size of restated financial statements).

       D.    Conclusion

 The Court has analyzed scienter in light of the three questions
 often considered by courts in this context. See Part IV.B.
 Based on this, the Court concludes that the Plaintiffs have pled
 a “strong inference” of scienter.
 The Defendants were made directly aware of information that
 suggested a large risk that revenues and enrollment were vastly
 overstated. See Part IV.C.1. Moreover, they were aware of
 investor concerns about the revenue and enrollment numbers. See
 Part IV.C.1. These were red flags, of each of the two basic
 types.
 In addition, the CEO and CFO could have been expected, by virtue
 of their positions, to be attuned to revenue and enrollment data
 --- and indeed the allegations are that they were, see Part
 IV.C.2, perhaps in part because of the obvious importance of
 such data to the Company, see Part IV.C.3.
 Are there other inferences here, of something other than
 scienter? See generally Tellabs, Inc., 551 U.S. at 323-24.
 The Defendants argue that the Plaintiffs’ theory of scienter is
 not as compelling as the competing inference --- that “there was
 no fraud, let alone any fraud of which the Defendants were
 aware.” Motion to Dismiss at 17.
 But as to the major note (“there was no fraud”), the Court has
 already held that the Plaintiffs have adequately pled fraud, see
 Part III, so this argument is to no avail.
 And as to the minor note (there was no “aware[ness]” of fraud),
 the argument would presumably be that if revenue and enrollment
 numbers were inflated --- that was the work of lower-level
 Company employees, and the CEO and CFO were unaware of it.
 But this is not more persuasive than the inference of scienter.
 It is alleged that the CEO and CFO were repeatedly and directly
 presented with detailed information that suggested large-scale
 revenue and enrollment inflation.


                                     48
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 49 of 55 PageID:
                                    3142


 Even if revenue and enrollment inflation had at some point been
 obscure to them --- that stopped being the case after they were
 allegedly presented with the various reports that detailed
 serious revenue/enrollment problems.
 And more basically, the allegations in the Complaint paint a
 picture of a Company that systematically and intentionally made
 use of bots to drive up “student” enrollment --- to make the
 Company look more revenue-rich, and accordingly more attractive
 to investors. The Company could have operated in this way
 without the CEO and CFO knowing. But that is not, on balance,
 the more persuasive inference. 41

 V.    Loss Causation

 Where things stand: the Court has held that the Plaintiff has
 adequately alleged that various public statements were false,
 see Part III, and were made with scienter. See Part IV.
 The Defendants’ final argument is that the Plaintiffs have not
 properly pled loss causation. See Motion to Dismiss at 17-21.
 That argument is taken up here.

       A.    In General

 To make out a 10(b) claim, such as is pressed here in Count One,
 a plaintiff must properly plead loss causation. See 15 U.S.C. §
 78u-4(b)(4); Halliburton, 573 U.S. at 267; Prudential Fin.,
 Inc., 70 F.4th at 679; McCabe v. Ernst & Young, LLP, 494 F.3d
 418, 424 (3d Cir. 2007).
 At this stage of the proceedings, this is typically a matter of
 alleging (a) that the relevant company’s share price

 41 Two quick notes. First, the Defendants argue that scienter
 is less plausible here because there are no sufficient
 allegations as to particular motives (created by, say, stock
 options) to inflate revenue and enrollments. See Motion to
 Dismiss at 12-14. A showing of motive can help to establish
 scienter. See Rahman, 736 F.3d at 245-46. But it is not
 necessary in general, see id.; Tellabs, Inc., 551 U.S. at 325;
 Avaya, 564 F.3d at 277, and it is not necessary here --- because
 the inference of scienter is especially strong. Second, the
 Defendants do not develop any arguments about timing and
 scienter, other than as to allegations of motive. The
 Defendants do not, for example, seek to contend that a
 particular statement was not made with scienter because the
 strongest allegations of scienter post-date the statement.
                                     49
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 50 of 55 PageID:
                                    3143


 “significantly” fell, Dura Pharmas., Inc. v. Broudo, 544 U.S.
 336, 347 (2005), and (b) that the price fall was caused to a
 sufficient extent by information becoming known that revealed
 the truth about something the company had previously said (or
 failed to say). See id.; see also, e.g., In re DVI, Inc. Sec.
 Litig., 639 F.3d 623, 632 (3d Cir. 2011) abrogated on
 alternative grounds by Amgen Inc. v. Connecticut Ret. Plans &
 Tr. Funds, 568 U.S. 455 (2013); McCabe, 494 F.3d at 425, 428-29;
 Bouriz v. Carnegie Mellon Univ., 585 F.3d 765, 774 n.6 (3d Cir.
 2009); In re Nektar Therapeutics Sec. Litig., 34 F.4th 828, 838
 (9th Cir. 2022); In re Williams Sec. Litig. WCG Subclass, 558
 F.3d 1130, 1137-1139 (10th Cir. 2009); Hull v. Glob. Digit.
 Sols., Inc., 2017 WL 6493148, at *15 (D.N.J. Dec. 19, 2017);
 Nat’l Junior Baseball League v. Pharmanet Dev. Grp. Inc., 720 F.
 Supp. 2d 517, 561 (D.N.J. 2010).
 Prong (b) is focused on the making of what is often called a
 “corrective disclosure.” See In re DVI, Inc. Sec. Litig., 639
 F.3d at 638-39 abrogated on alternative grounds by Amgen Inc.,
 568 U.S. 455; In re Bofl Holdings, Inc. Sec. Litig., 977 F.3d at
 789-91; Meyer v. Green, 710 F.3d 1189, 1196-97 (11th Cir. 2013);
 Public Emps. Ret. Sys. of Miss. v. Amedisys, Inc., 769 F.3d 313,
 320-21 (5th Cir. 2014); Katyle v. Penn Nat’l Gaming, Inc., 637
 F.3d 462, 470-73 (4th Cir. 2011); FindWhat Inv. Grp. v.
 FindWhat.com, 658 F.3d 1282, 1312 n.28 (11th Cir. 2011); In re
 Williams Sec. Litig. WCG Subclass, 558 F.3d at 1140.
 The public “disclosure” of information “correct[s]” the earlier
 misrepresentation --- and the plaintiff then seeks to establish
 that the publicly-disclosed information also “correct[ed]” the
 stock price, pulling it back down toward what it would have been
 without the misrepresentation. See Meyer, 710 F.3d at 1195-96;
 FindWhat.com, 658 F.3d at 1314-1316.
 How is the first correction (of information) yoked to the second
 correction (of price)? By the overarching idea that in a market
 economy such as ours, prices adjust up and down based on
 information --- and fairly quickly, in the sort of “efficient”
 market that most U.S. stocks trade on. See generally Basic,
 Inc. v. Levinson, 485 U.S. 224, 243-249 (1988); In re Merck &
 Co., Inc. Sec. Litig., 432 F.3d 261, 269 (3d Cir. 2005); Eugene
 F. Fama, Efficient Capital Market: A Review of Theory &
 Empirical Work, 25 J. of Fin. 383 (1970).
 An example as to how this might work in practice: if a stock’s
 price was $10 just after a statement was made, and the price
 falls to $6 soon after the statement is revealed to have been
 false (through a “corrective disclosure”) --- then $4 might be
 thought of as a rough starting point for thinking about the loss

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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 51 of 55 PageID:
                                    3144


 caused to shareholders by the statement that is now understood
 to have been false.
 But once the analysis begins in earnest, any number of difficult
 possible proof problems might emerge. 42
 For example, $4 may overstate or understate the relevant loss --
 because it reflects the impact not just the corrective
 disclosure, but also the possible impact of other
 contemporaneous news. See In re DVI, Inc. Sec. Litig., 639 F.3d
 at 632; Meyer, 710 F.3d at 1195-96.
 Or $4 might reflect not just the “price” of what is now revealed
 as having been a company misrepresentation --- but also the
 “price” of the company being revealed as the sort of company
 that makes misrepresentations. See Jonathan M. Karpoff, et al.,
 The Cost to Firms of Cooking the Books, 43 J. of Fin. &
 Quantitative Analysis 581 (2008); Donald C. Langevoort, Basic at
 Twenty: Rethinking Fraud-on-the-Market, 2009 Wis. L. Rev. 151,
 160 n.40 (2009).
 Or another possible difficulty: perhaps the new information is
 not so new at all. Through a variety of other sources, the
 truth might have already publicly come out --- and that truth
 was already reflected in the stock’s price by the time the
 asserted corrective disclosure was made. See Meyer, 710 F.3d at
 1197-98; FindWhat.com, 658 F.3d at 1312 n.28, 1315-16; In re
 Bofl Holdings, Inc. Sec. Litig., 977 F.3d at 794; Norfolk Cnty.
 Ret. Sys. v. Cmty. Health Sys., Inc., 877 F.3d 687, 695 (6th
 Cir. 2017). In such a scenario, it does not meaningfully matter
 that the stock price fell around the time of the asserted
 corrective disclosure --- because in fact the corrective
 disclosure was not that. The relevant information had already
 come out, and its impact had presumably already been “impounded”
 in the price of the stock. 43


 42 There may be some conceptual issues, too. See Donald C.
 Langevoort, Compared to What?: Economic Evidence and the
 Counterfactual Difficulty, 35 J. Corp. L. 183, 184-86 (2009).
 But those are irrelevant here, given the arguments the parties
 make.

 43 Imagine a company that publicly announces on a Tuesday
 morning that it is restating its earnings because of a previous
 accounting error. A week later, a newspaper article covers the
 restatement. If it does not provide new information, the
 newspaper article cannot count as corrective disclosure. This
 approach has sometimes been criticized, see Langevoort, Basic at
                                     51
Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 52 of 55 PageID:
                                    3145


       B.    In This Case

 Here, the Defendants press one argument --- and it is a variant
 on the it-was-already-public argument set out in the preceding
 paragraph.
 To see the Defendants’ argument, note first that the Plaintiffs
 identify a range of corrective disclosures. 44 See Complaint ¶¶
 284, 287, 291, 293. Of these, two are short seller reports
 about the Company 45 --- and these two that are the focus of the
 Court’s analysis here. See id.


 Twenty, 2009 Wis. L. Rev. at 175-76 (collecting sources), but
 there is little doubt that it generally reflects federal law.
 See In re Merck & Co., Inc. Sec. Litig., 432 F.3d at 270.

 44  Three of these asserted corrective disclosures, see Complaint
 ¶¶ 281, 289, 295, will not be considered here. This is because
 Judge Salas has already ruled that those do not count. That
 Court treats that decision as controlling here, under the law of
 the case doctrine. See Arizona, 460 U.S. at 618; Saint-Jean v.
 Palisades Interstate Park Comm’n, 49 F.4th 830, 836 (3d Cir.
 2022); Bailey, 435 F. App’x at 91. As to these disclosures, the
 Plaintiffs have not meaningfully tried to explain why the prior
 decision of Judge Salas should not control. And the allegations
 as to these three corrective disclosures are the same, or
 virtually the same --- tweaked in ways that do not address the
 points Judge Salas laid out. In addition, the Court also does
 not consider here as corrective disclosures the August 9 Report
 or the announcement of an SEC investigation. See Complaint ¶¶
 291, 293. Analyzing these here is unnecessary. See footnote
 47.

 45 The most familiar sort of corrective disclosure comes from a
 company itself. For example, a company might disclose that its
 prior financial statements contained material
 misrepresentations, because its accounting practices had been
 deficient. See, e.g., Hacker, 687 F. Supp. 3d at 587. But a
 corrective disclosure might also come from a third-party source.
 See, e.g., Metzler Inv. GMBH v. Corinthian Colls., Inc., 540
 F.3d 1049, 1063-64 (9th Cir. 2008) (newspaper article); Norfolk
 Cnty. Ret. Sys., 877 F.3d at 695 (lawsuit complaint); Amedisys,
 Inc., 769 F.3d at 322 (short seller report, newspaper article,
 and announcement of SEC investigation). Some courts have held
 that special standards need to be applied where the third-party
 making a corrective disclosure is a short seller. See In re
 Nektar Therapeutics Sec. Litig., 34 F.4th at 839-840. But while
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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 53 of 55 PageID:
                                    3146


 The Defendants argue: the reports do not count as corrective
 disclosures, because they told the public what the public
 already knew, from a previous short seller report. See Motion
 to Dismiss at 19-21. (That previous short seller report, dated
 February 25, 2020, has been referred to in this Opinion as
 Report-3. In this Part, for ease of reference, it is called
 “the First Report.”)
 The Defendants’ argument is not persuasive.
 The First Report accused the Company of faking student
 enrollments. See First Report at 23-26. But it did so largely
 based on a quick citation to an article that was, at that point,
 around five years old. See id. at 23. This is threadbare. It
 is less a disclosure of information than an accusation.
 The First Report mustered one other meaningful piece of
 information: it said that in late 2019 a person saw 6 incidents
 of “students” offering “identical” reviews as to Company
 courses. Id. at 26.
 This is potentially important information. But it is also
 anecdotal, and the First Report makes no effort to explain how
 or why this might be part of a larger pattern of false student
 enrollments.
 All of this is in stark contrast with the information as to fake
 student enrollments and their impact on Company revenues set out
 in the other two asserted corrective disclosures the Court
 focuses on. 46
 To see the point, zero in on one of the asserted corrective
 disclosures --- the May 2020 report, Report-1.
 Report-1 did not look to 6 students, as the First Report did.
 Rather, Report-1 said that it accessed and then analyzed over
 460,000 class sign-in records for over 54,000 users over 200
 Company classes. See Report-1 at 14.
 In addition, Report-1 described its methods for determining
 whether a “student” user was in fact a bot. See id. at 13, 17-
 25. It laid out in numerous charts granular information (in
 places to three decimal points) as to who was joining Company

 the Defendants allude to the identified corrective disclosures
 as “self-interested” short seller reports, Motion to Dismiss at
 20, they do not argue that special standards should be applied
 to them.
 46 These two have been discussed in this Opinion as Report-1 and
 Report-2.
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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 54 of 55 PageID:
                                    3147


 classes and when --- and why and to what extent those “students”
 appeared to be bots. See id. at 5-10, 14.
 Moreover, the body of information scrutinized by Report-1 was
 not, in the main, public information. Indeed, the critical
 underlying records were apparently those that became available
 to paying students in Company classes, see id. at 17-20 --- plus
 information assertedly provided by a former Company manager.
 See id. at 11-12.
 In addition, Report-1 showed its work to a meaningful extent, so
 that readers could make their own assessments. Report-1
 explained how to access the underlying records it based its
 analysis on. See id. at 17-20. And it included an
 “uninterrupted segment” of the transcript of an interview with
 the former Company manager, describing in some detail the
 Company’s asserted efforts to make systematic use of fake
 students. See id. at 11-12.
 Examples from Report-1 could be multiplied. And so could
 examples from at least one of the other reports (Report-2, see
 footnotes 44, 46) identified by the Plaintiffs as a corrective
 disclosure.
 But that is not necessary. The Plaintiffs were required to
 plausibly allege loss causation based on the corrective
 disclosures they identified. See In re Facebook, Inc. Sec.
 Litig., 87 F.4th 934, 954 (9th Cir. 2023); Loreley Fin. (Jersey)
 No. 3 Ltd. v. Wells Fargo Sec., LLC, 797 F.3d 160, 188 (2d Cir.
 2015); Lormand v. US Unwired, Inc., 565 F.3d 228, 267 (5th Cir.
 2009).
 The Defendants contend they failed to do so, because the cited
 reports were no more than “repackaging” of the First Report.
 But even a quick read of Report-1 and Report-2 makes this
 argument impossible to sustain.
 The information and analysis in those reports was, by comparison
 with the information in the First Report, more detailed, more
 systematic, more rigorous, and closer to first-hand --- and each
 of these by leaps and bounds. The reports prepared after the
 First Report “required extensive and tedious research involving
 the analysis of far-flung bits and pieces of data” --- and
 Report-1 and Report-2 are based mainly on non-public
 information. In re Nektar Therapeutics Sec. Litig., 34 F.4th at
 839 (quoting In re Bofl Holding, Inc. Sec. Litig., 877 F.3d at
 797). These are critical distinctions.
 There can be no argument, at least at this early stage, that
 Report-1 and Report-2 added too little incremental information

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Case 2:20-cv-04457-MEF-JRA   Document 112   Filed 06/25/24   Page 55 of 55 PageID:
                                    3148
